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 1                        UNITED STATES DISTRICT COURT

 2                        WESTERN DISTRICT OF NEW YORK

 3   - - - - - - - - - - - - - -X
     UNITED STATES OF AMERICA                03-CR-6033(L)
 4
     vs.
 5                                           Rochester, New York
     CHAD MARKS,                             December 17, 2019
 6                 Defendant.                9:30 a.m.
     - - - - - - - - - - - - - -X
 7
                           TRANSCRIPT OF PROCEEDINGS
 8                   BEFORE THE HONORABLE DAVID G. LARIMER
                          UNITED STATES DISTRICT JUDGE
 9

10                         JAMES P. KENNEDY, JR., ESQ.
                            United States Attorney
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17                                    - and -
                            JILLIAN S. HARRINGTON, ESQ.
18                          P.O. Box 6006
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19                          Appearing on behalf of the Defendant

20

21   ALSO PRESENT:          Kerry Chartier, U.S. Probation Office

22

23
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 1                                 I N D E X

 2

 3   WITNESS FOR THE GOVERNMENT

 4   Steven Wascher
          Direct examination by Mr. Rodriguez                           Page 3
 5        Cross-examination by Mr. Gleeson                              Page 29
          Redirect examination by Mr. Rodriguez                         Page 92
 6

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11
     EXHIBIT                RECEIVED
12
     Government 1
13   Government 2
     Defense A
14   Defense B

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             1                            P R O C E E D I N G S

             2                             *          *          *

             3                 (WHEREUPON, the defendant is present).

             4                 THE COURT: Good morning to counsel.

09:46:30AM   5                 MR. RODRIGUEZ: Good morning, Judge.

             6                 THE COURT: Mr. Rodriguez, Mr. Gleeson.

             7                 MR. GLEESON: Good morning, Judge.

             8                 THE COURT: Mr. Marks, good morning.

             9                 THE DEFENDANT: Good morning.

09:46:37AM10                   THE COURT: Ms. Harrington on the line?

         11                    MS. HARRINGTON: Yes, I am.        Good morning, Your

         12      Honor.

         13                    THE COURT: All right, good morning, good morning.

         14                    I guess we are assembled and prepared to proceed?

09:46:49AM15                   MR. GLEESON: Yes.

         16                    MR. RODRIGUEZ: Yes, Judge.

         17                    THE COURT: Mr. Rodriguez, I suspect you have a

         18      witness?

         19                    MR. RODRIGUEZ: I do, Your Honor.          We call -- may I

09:46:58AM20     call him?

         21                    THE COURT: I think we're ready.

         22                    MR. RODRIGUEZ: We call Steven Wascher.

         23                  GOVERNMENT'S WITNESS, STEVEN WASCHER, SWORN

         24                                DIRECT EXAMINATION

09:47:10AM25                   THE COURT: Please state your name and spell it for
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             1   the record.

             2                 THE WITNESS: Steven Wascher.         S-T-E-V-E-N;

             3   W-A-S-C-H-E-R.

             4                 THE COURT: W-A-S?

09:47:35AM   5                 THE WITNESS: C-H-E-R.

             6                 THE COURT: Thank you.       You can have a seat up there

             7   in the witness area.      All right, keep your voice up a little

             8   bit and we'll proceed when you're ready, Mr. Rodriguez.

             9                 MR. RODRIGUEZ: Thank you, Judge.

09:47:58AM10     BY MR. RODRIGUEZ:

         11      Q.   Good morning, Mr. Wascher.         How are you?

         12      A.   I'm well.

         13      Q.   Would you please tell Judge Larimer where you're employed?

         14      A.   FMC Lexington.

09:48:05AM15     Q.   And FMC is?

         16      A.   Federal medical center.

         17      Q.   That's a Bureau of Prisons facility?

         18      A.   That's correct.

         19      Q.   And how long have you worked for the Bureau of Prisons?

09:48:16AM20     A.   Since 2014.

         21      Q.   What is your current assignment with the Bureau of Prisons

         22      at FMC Lexington?

         23      A.   I'm an SIS technician.

         24      Q.   What does an SIS technician do generally?

09:48:30AM25     A.   We're responsible for maintaining the safety and security
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             1   of the inmates and staff in the organization.            We do that by

             2   gathering information, intelligence through monitoring of

             3   e-mail communications, interviewing inmates, investigations,

             4   stuff like that.

09:48:45AM   5   Q.   Now, how long have you --

             6                 THE COURT: I'm sorry, what's the SIS stand for?

             7                 THE WITNESS: Special Investigation Section, Your

             8   Honor.

             9                 THE COURT: Oh, thank you.

09:48:54AM10                   MR. RODRIGUEZ: Thanks, Judge.

         11      BY MR. RODRIGUEZ:

         12      Q.   How long have you been a technician with SIS?

         13      A.   Started in June of this year, sir.

         14      Q.   What did you do before you became an SIS technician?

09:49:05AM15     A.   I was an officer, correctional officer.

         16      Q.   At FMC Lexington?

         17      A.   Yes, sir.

         18      Q.   Judge Larimer was good enough to point out that I referred

         19      to you as officer at the last hearing, but you're not an

09:49:16AM20     officer?    You're a technician, correct?

         21      A.   That's correct.

         22      Q.   You had been an officer before?

         23      A.   Yes, sir.

         24      Q.   And were you promoted to become a technician?

09:49:25AM25     A.   Yes, sir.
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             1   Q.   Do technicians answer to officers?

             2   A.   No.

             3   Q.   We'll come back to what you do at the facility in a

             4   moment, but I would like to talk a little bit about what you

09:49:39AM   5   did before you came to the Bureau of Prisons, okay?

             6   A.   Yes, sir.

             7   Q.   Would you tell us what you did out of high school?

             8   A.   Graduated high school, joined the United States Army.

             9   Q.   When did you get out of high school?

09:49:52AM10     A.   1991.

         11      Q.   You went right into the Army?

         12      A.   Yes, sir.

         13      Q.   How long were you in the Army?

         14      A.   From 1991 until 1998.

09:49:58AM15     Q.   And when you left the Army what was your rank?

         16      A.   E5 sergeant.

         17      Q.   What did you do in the Army during the eight years that

         18      you served the country?

         19      A.   My job assignment was military police officer.

09:50:11AM20     Q.   You've got to keep your voice up.

         21      A.   Military police officer.

         22      Q.   Were you stationed abroad at any time?

         23      A.   I was stationed in numerous locations in the United States

         24      and overseas in eastern Europe.

09:50:23AM25     Q.   What were some of the places where you were stationed
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             1   abroad?

             2   A.   All over the Falkland theater, Hungary, Bosnia, Sarajevo,

             3   Brcko, throughout the -- it was during the conflicts over

             4   there, so I traveled in multiple locations.

09:50:36AM   5   Q.   Now, you indicated that you left the Army what year?

             6   A.   1998, sir.

             7   Q.   What did you do after you left the Army in 1998?

             8   A.   I became a Department of Defense contractor.

             9   Q.   And what kind of work did you do as a Department of

09:50:51AM10     Defense contractor?

         11      A.   It was mostly security and intelligence based contracting.

         12      Q.   Can you describe to Judge Larimer what that entailed?

         13      A.   Initially my first contracts were coordinated with the

         14      military to locate and retrieve high value targets, people who

09:51:10AM15     were designated as terrorists for the United States

         16      Government.

         17      Q.   Where did you do this type of work?

         18      A.   In the Middle East:       Kuwait, Iraq, Afghanistan.

         19      Q.   In addition to locating high value targets in these

09:51:25AM20     places, what else did you do as a defense contractor?

         21      A.   I did executive protection.         We guarded dignitaries, VIPs,

         22      presidential motorcades, stuff like that overseas in hostile

         23      environments; and I was a counterintelligence investigator for

         24      the Department of Defense.

09:51:42AM25     Q.   Without giving us obviously any classified information,
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             1   what type of work did you do as a counterintelligence

             2   investigator?

             3   A.   It was along the same lines as my initial contracts.          We

             4   worked -- I was specifically tasked out to DIA, Defense

09:51:58AM   5   Intelligence Agency, to locate and apprehend high value

             6   targets.

             7   Q.   How long were you a defense contractor roughly?

             8   A.   Approximately 17, 17 and a half years.

             9   Q.   And after you stopped being a defense contractor did you

09:52:14AM10     come over to BOP?

         11      A.   Yes, sir.

         12      Q.   Why did you stop being a defense contractor?

         13      A.   Actually my wife got on to me about being gone all the

         14      time, you know, having to two raise two boys on her own.           I

09:52:27AM15     finally caved and came back to the United States to kind of

         16      homestead.

         17      Q.   Now, you joined BOP what year?

         18      A.   2014.

         19      Q.   When you first came into BOP what was your responsibility

09:52:39AM20     and your position?

         21      A.   I was an officer.      I had general responsibility as an

         22      officer of the safety, well-being of the inmates and staff,

         23      ensuring that the inmates followed policies and procedures

         24      inside the institution.

09:52:51AM25     Q.   And you said you did that for how long?
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             1   A.   Approximately four and a half years.

             2   Q.   Then you became -- you were promoted to SIS?

             3   A.   Yes, sir.

             4   Q.   Now, was that a competitive position, the position that

09:53:04AM   5   you obtained at SIS?

             6   A.   Yes, sir.

             7   Q.   How many SIS officers are there at FMC Lexington?

             8   A.   In our institution there's only two, sir.

             9   Q.   You're one of the two?

09:53:16AM10     A.   Yes, sir.

         11      Q.   Now, during the course of your work as an SIS technician,

         12      do you have -- how is it that you go about, generally

         13      speaking, I don't want any names, generally speaking, how is

         14      it that you go about trying to find out what's going on in the

09:53:33AM15     facility and what -- who, if any, inmates may be engaging in

         16      criminal or prohibited conduct?

         17      A.   Generally speaking, we have certain things we have to

         18      monitor daily:     Inmate communications, which are e-mails,

         19      phone calls, written letters, correspondence.            We do that.     We

09:53:54AM20     look for key words or anything that may be an indicator of

         21      something going on.

         22                    We walk the institution, we help the officers with

         23      shakedowns or searches throughout the institution.             We have

         24      conversations daily with the inmates.          I'm pretty good at just

09:54:09AM25     walking up and talking to them.         I like to keep a good, open
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             1   conversation with them.

             2                 We get information from other institutions, we get

             3   information from other inmates.         You just put it all together

             4   and try to find everything.

09:54:20AM   5   Q.    Fair enough.     You used the term "shakedown."         What's a

             6   shakedown?

             7   A.    A search, sir.

             8   Q.    A search of what?

             9   A.    Could be a general area, could be an inmate itself, it

09:54:29AM10     could be a cell.

         11      Q.    By the way, does the fact that an inmate takes many

         12      classes at a Bureau of Prisons facility indicate that he's not

         13      engaging in criminal or prohibited conduct?

         14      A.    No, sir.

09:54:50AM15     Q.    Does the fact that an inmate takes many classes at a BOP

         16      facility indicate he's not a danger in the facility or could

         17      be a danger outside?

         18      A.    No, sir.

         19      Q.    I want to direct your attention to February 21st of 2019.

09:55:06AM20     On that day did you have occasion to become involved in the

         21      search of cells?      Prison cells?

         22      A.    I'm not sure of the exact date, but --

         23      Q.    All right.     Is there anything that might refresh your

         24      recollection on the date?

09:55:24AM25     A.    My affidavit or the incident report or something showing
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             1   that date, sir.

             2   Q.    Fair enough.

             3                  MR. RODRIGUEZ: Judge, I'm handing up to the witness

             4   what I'm marking as Government Exhibit 1.            It is the Federal

09:55:48AM   5   Bureau of Prisons incident report from February 21, 2019.

             6                  MR. GLEESON: May I see it, please?          Thank you.

             7                  THE COURT: Mark it with a number.

             8                  MR. RODRIGUEZ: Sorry, Judge?

             9                  THE COURT: Do you want to mark it with a number?

09:56:09AM10                    MR. RODRIGUEZ: Government Exhibit 1.

         11                     THE COURT: I'm sorry, I didn't hear it.              No. 1,

         12      thank you.

         13      BY MR. RODRIGUEZ:

         14      Q.    Mr. Wascher, I show you what's marked as

09:56:18AM15     Government Exhibit 1.       Do you recognize what that is?

         16      A.    Yes, sir.

         17      Q.    What is it?

         18      A.    It's an incident report, sir.

         19      Q.    All right.     Did you prepare that incident report?

09:56:26AM20     A.    I did.

         21      Q.    I'd like you to review it and see if it refreshes your

         22      recollection as to the date of that jail cell search?

         23      A.    It does, sir.

         24      Q.    What was the date?

09:56:34AM25     A.    21 February 2019.
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             1   Q.    All right.    Now, at that time were you an SIS technician

             2   or were you still an officer?

             3   A.    I was a senior officer, sir.

             4   Q.    All right.    Can you describe to the Court generally why it

09:56:46AM   5   is you searched the cell that day?

             6   A.    On this occasion, sir, we were doing random cell searches

             7   of the entire alley of the Bluegrass Unit where Mr. Marks

             8   resides.

             9                 His cell was one of those on that alley, and we had

09:57:01AM10     previous information that there may be contraband in his cell.

         11      So we searched it along with the other cells.

         12      Q.    All right, let's break that up a little bit.            You said

         13      that you were conducting random searches.            Is that something

         14      that commonly takes place at a Bureau of Prisons facility?

09:57:13AM15     A.    It's supposed to happen daily throughout the day.

         16      Q.    What's the purpose of these random cell searches?

         17      A.    To control and eliminate contraband from the institution.

         18      Q.    All right.    Now, you indicated that you in the course of

         19      doing that set of searches, you also searched Mr. Marks' cell?

09:57:28AM20     A.    Yes, sir.

         21      Q.    And you had prior information about him?

         22      A.    Yes, sir.

         23      Q.    What was that information?

         24      A.    We were given information that Mr. Marks had in his

09:57:37AM25     possession a SIM card, which goes into a smart telephone, and
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             1   he was attempting to obtain a smart telephone for that SIM

             2   card.

             3   Q.    Did you obtain any -- had you had any information about

             4   why he was trying to get a cell phone?

09:57:50AM   5   A.    The information we were given was that he was trying to

             6   get into -- introduction of Suboxone inside the institution,

             7   and that he was currently using another inmate's cell phone to

             8   coordinate this and he wanted his own cell phone to coordinate

             9   it.

09:58:05AM10     Q.    What is Suboxone?

         11      A.    It's a prescription drug that helps people get off opiate

         12      addiction.

         13      Q.    How is it used in any way by prison inmates?

         14      A.    It gives you the same feelings -- or it's just like taking

09:58:20AM15     an opiate, and it's easy to conceal.          The inmates take it.

         16      Q.    Forgive me for something, what may be a silly question,

         17      but why is it a violation or why is it of concern that an

         18      inmate might have a cell phone in his possession?

         19      A.    A cell phone is our most serious item in the institution.

09:58:39AM20     Q.    A more serious item?

         21      A.    Yes, sir.    We consider those more serious than weapons.

         22      They use them to coordinate activities, talk to people on the

         23      outside of the institution.        We've seen -- a prime example,

         24      like in Puerto Rico they coordinated attacks on staff members

09:58:55AM25     outside of the institution; that was done through cell phones.
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             1                 So maintaining and eliminating cell phones from the

             2   institution is one of our main priorities.

             3   Q.    Were you involved in the actual search of Mr. Marks' cell?

             4   A.    Yes, sir.

09:59:09AM   5   Q.    At the time did Mr. Marks share the cell with anybody

             6   else?

             7   A.    Yes, sir.

             8   Q.    How many people were in Mr. Marks' cell?

             9   A.    I believe, my recollection, there were two inmates in that

09:59:20AM10     cell, sir.

         11      Q.    Do you recall the name of the other inmate?

         12      A.    Inmate Moore.

         13      Q.    Okay.   Describe to Judge Larimer what happened when you

         14      began the course of the search of Mr. Marks' cell.

09:59:34AM15     A.    Initially we go in the cell, we ensure no inmates were

         16      present inside the cell, we'll throw a blanket or towel,

         17      something over the window -- we don't want the inmates

         18      observing our search procedures because then they'll know how

         19      we search and it helps them hide more contraband.             So we'll

09:59:50AM20     secure the cell, cover the window.          We just go in and conduct

         21      a search.

         22      Q.    And was any contraband found during this search of the

         23      cell?

         24      A.    Yes, sir.

09:59:58AM25     Q.    Describe to Judge Larimer what you found.
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             1   A.     A plastic card that you receive -- that a SIM card is

             2   attached to and you snap the SIM card out.            We found one of

             3   those.

             4   Q.     You found the card holder, but not the SIM card itself?

10:00:11AM   5   A.     That's correct.

             6   Q.     And --

             7                   THE COURT: I'm sorry.      You found -- tell me again

             8   what you found.

             9                   THE WITNESS: Your Honor, when you get a new cell

10:00:20AM10     phone they give you that plastic card, it looks like a credit

         11      card, and it has the SIM card into it, and you kind of snap it

         12      out.     That card is what we found, not the actual SIM card.

         13                      THE COURT: All right. I take it that none of the --

         14      neither Mr. Marks nor Mr. Moore were in the cell when it was

10:00:36AM15     searched?

         16                      THE WITNESS: No, sir.

         17                      THE COURT: Okay.

         18      BY MR. RODRIGUEZ:

         19      Q.     Had they been in the cell, you would have asked them to

10:00:42AM20     step out?

         21      A.     Yes, sir.

         22      Q.     Okay. Where did you find the SIM card holder?

         23      A.     It was located inside a red Gideon Bible.

         24      Q.     And where was the red Gideon Bible?

10:00:54AM25     A.     It was located on top of a wall locker, institutional wall
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             1   locker.

             2   Q.    How many wall lockers were in that cell, if you recall?

             3   A.    I believe there were four in the cell at the time.

             4   Q.    Okay.   And were you able -- was the Bible inside a locker

10:01:12AM   5   or on top of a locker?

             6   A.    It was on top of a locker.

             7   Q.    So anybody in that cell could have grabbed the Bible?

             8   A.    Yes, sir.

             9   Q.    Were you able to determine whose locker the Bible was on

10:01:24AM10     top of?

         11      A.    Yes, sir.

         12      Q.    Whose locker was it?

         13      A.    We identified it as Inmate Moore's locker.

         14      Q.    Inmate Moore's locker, Mr. Marks' cellmate?

10:01:33AM15     A.    That's correct.

         16      Q.    What happened after you identified the Bible, you located

         17      the plastic SIM card holder inside the Bible on top of the

         18      locker?

         19      A.    We secured the contraband and continued with the search of

10:01:46AM20     the cell.

         21      Q.    Did you find any other contraband?

         22      A.    No, sir, I don't believe we did.

         23      Q.    What happened after the search was completed?

         24      A.    We took the contraband over to the lieutenant's office and

10:01:58AM25     we escorted Moore to the lieutenant's office as well.
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             1   Q.    Why did you take Moore to the lieutenant's office?

             2   A.    Because the location of the SIM card was identified as his

             3   property, so he was the only inmate we could physically link

             4   to the SIM card.

10:02:15AM   5   Q.    Were you present when Moore was taken to the lieutenant's

             6   office?

             7   A.    Not during the escort.       I was in the lieutenant's office

             8   when he arrived there.

             9   Q.    All right.    And was Mr. Moore asked any questions while he

10:02:28AM10     was inside the lieutenant's office?

         11      A.    Yes, sir.

         12      Q.    What, if anything, did he say about the Bible and the SIM

         13      card, if anything?

         14      A.    He stated it was his Bible, that he had one Bible, red

10:02:39AM15     Bible, that he used for religious services.

         16      Q.    Now, what happened to Mr. Moore after he had this initial

         17      communication with the lieutenant?

         18      A.    He was escorted to the Special Housing Unit and secured

         19      there.

10:02:53AM20     Q.    Was he at some point -- I forget the term -- adjudicated

         21      one way or the other, that he was guilty or not guilty of

         22      possessing that contraband?

         23      A.    He was seen by the lieutenant and the DHO.            I'm not sure

         24      what their findings were on it, sir, but he was seen by both

10:03:11AM25     of them.
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             1   Q.    What's a DHO?

             2   A.    Disciplinary hearing officer.

             3   Q.    Did you have occasion to check to see whether there was

             4   any indication of Mr. Moore's having been disciplined as a

10:03:22AM   5   result of this activity?

             6   A.    Yes, sir.

             7   Q.    What was your finding?

             8   A.    That he had no disciplinary history.

             9   Q.    What's that indicate?

10:03:29AM10     A.    It would either indicate that he was not charged with the

         11      cell phone or that his record was expunged.

         12      Q.    Why would a record be expunged?

         13      A.    It could either be due to not enough evidence for the DHO

         14      to substantiate the charge; or if the DHO himself felt that

10:03:43AM15     the inmate wasn't guilty.

         16      Q.    All right.     Now, you were involved in the search, you were

         17      present when Mr. Moore was interviewed.           Who do you believe

         18      that SIM card belonged to?

         19      A.    My belief it belonged to Mr. Marks.

10:03:56AM20     Q.    Why is that?

         21      A.    The previous information we had, the intelligence stating

         22      that he was in possession of it, he was trying to gain access

         23      to a cell phone, the interactions with Mr. Marks versus the

         24      interaction with Inmate Moore.         Two completely different

10:04:12AM25     personalities.
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             1   Q.    In what way?

             2   A.    Inmate Moore is very, very polite, very respectful, not

             3   like strong-willed at all.        He's the type of inmate that if he

             4   sees you in the hallway, he says God bless you or how you

10:04:28AM   5   doing, hopes you have a safe day at work, stuff like that.

             6                 Mr. Marks is more confident, a little bit of

             7   arrogance to him, doesn't interact the same way.

             8                 So based on my experience, if I had to pick an

             9   inmate and guess who it belonged to, I would say Mr. Marks.

10:04:45AM10     Q.    And had you had occasion -- are you familiar with

         11      Mr. Marks' disciplinary record?

         12      A.    Slightly.

         13      Q.    Does he have a disciplinary history in BOP?

         14      A.    Yes, sir.

10:04:56AM15     Q.    Did Mr. Moore have a disciplinary history at BOP?

         16      A.    No, sir.

         17      Q.    Based on your training and experience and your work as an

         18      SIS technician, why would Mr. Moore claim responsibility for

         19      something that didn't -- or contraband that wasn't his?

10:05:12AM20     A.    There could be numerous reasons.         Sometimes inmates will

         21      hold or claim responsibility for contraband for other inmates.

         22      Could be either done out of loyalty, out of fear, coercion.

         23      Inmates can pay or bribe other inmates to hold contraband for

         24      them.

10:05:29AM25                   Most likely your smarter, more well-connected
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             1   inmates are never going to hold their own contraband so they

             2   won't have a significant history report for that.             It will be

             3   the inmates who don't have any pull or influence in the

             4   institution.

10:05:42AM   5   Q.    Do you consider Mr. Marks a well-connected inmate?

             6   A.    I'd say he's somewhat connected.         He's a very intelligent

             7   person, and I don't think, if he had contraband, he would hold

             8   it his self.

             9   Q.    By the way, I forget if I asked you this, but the

10:05:58AM10     information about somebody holding a SIM card and trying to

         11      get a cell phone, who was trying to -- who was holding a SIM

         12      card, who was trying to get a cell phone according to the

         13      information you had obtained before the search?

         14      A.    According to the information, Inmate Marks had a SIM card

10:06:14AM15     and was trying to obtain a cell phone for that SIM card.

         16      Q.    All right.    I want to move you ahead to August of 2019 of

         17      this year.

         18      A.    Okay.

         19      Q.    Around that time were you contacted by BOP lawyers and

10:06:40AM20     asked to look into a tattoo that Mr. Marks had?

         21      A.    Yes, sir.

         22      Q.    Can you describe that communication to Judge Larimer?

         23      A.    I was contacted by the Legal Department at FMC Lexington.

         24      They advised me that the AUSA's Department had observed a

10:06:56AM25     tattoo on Inmate Marks on social media and asked if I could
                 Case 6:03-cr-06033-DGL Document 526 Filed 12/19/19 Page 21 of 146
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             1   get a picture of the tattoo or get an explanation of what the

             2   tattoo was.

             3   Q.    What, if anything, did you do to follow-up that request --

             4   follow-up on that request?

10:07:09AM   5   A.    I just had Mr. Marks come over to the lieutenant's office,

             6   talked to him a little bit and took pictures of his tattoos

             7   and upper body.

             8   Q.    Could you describe Mr. Marks' demeanor when he came into

             9   the lieutenant's office to meet with you?

10:07:22AM10     A.    He was a little nervous.        Getting called to the

         11      lieutenant's office, he was wanting to know if he was in

         12      trouble.    He was confident, a little bit arrogant.            That's

         13      just -- that's normally his personality, but he was a little

         14      nervous being in the lieutenant's office.

10:07:37AM15     Q.    Describe to Judge Larimer what happened when Mr. Marks

         16      came into the lieutenant's office.

         17      A.    He asked me why he was there, and I told him I needed to

         18      take pictures of his upper body, he may have been involved in

         19      a physical altercation.       Just needed to get pictures and find

10:07:52AM20     out what's going on.

         21                    He submitted.      There was no issue.       He didn't --

         22      wasn't confrontational whatsoever.

         23      Q.    Did you photograph him?

         24      A.    Yes, sir.

10:07:59AM25     Q.    During the course of your having this meeting with him did
                 Case 6:03-cr-06033-DGL Document 526 Filed 12/19/19 Page 22 of 146
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             1   he say anything?

             2   A.    Yes, we had a casual conversation.

             3   Q.    Did he discuss at any time whether or not he had belonged

             4   to any groups in facilities before?

10:08:17AM   5   A.    He had mentioned that he had ran with the Dirty White Boys

             6   at -- I believe it was USP Coleman.

             7   Q.    What did he say about that?

             8   A.    He said that he was used to stuff like this, being brought

             9   in, accusations being made, like, for the photographs.              Stuff

10:08:34AM10     like that happened at USP Coleman.

         11                    He ran with the Dirty White Boys.          He got tired of

         12      their politics; as he got older and more mature, didn't want

         13      to be involved in it.       They would ask him to assault inmates

         14      if they were minorities or homosexual, and as he got older he

10:08:50AM15     realized how stupid that was and he was trying to distance his

         16      self from it.

         17      Q.    Did he indicate whether or not he had, in fact, assaulted

         18      minorities and gay people?

         19      A.    His words were that the Dirty White Boys had instructed

10:09:02AM20     him to do it.

         21      Q.    Did he say whether or not he had done it?

         22      A.    He didn't say specifically he did it.           He said that they

         23      would ask him to do it.

         24      Q.    All right.    Now, Mr. Wascher, do you remember roughly when

10:09:17AM25     it was?
                 Case 6:03-cr-06033-DGL Document 526 Filed 12/19/19 Page 23 of 146
                                                                                         23




             1                 THE COURT: I'm sorry --

             2                 MR. RODRIGUEZ: I'm sorry, Judge.

             3                 THE COURT: Either your own knowledge or the record,

             4   do you know when Mr. Marks was at Coleman?

10:09:30AM   5                 THE WITNESS: He was there, I believe, a couple

             6   years.     I'm not sure the exact dates, Your Honor.

             7                 THE COURT: Just before Lexington or do you know?

             8                 THE WITNESS: I think he had been in an institution

             9   prior between Coleman and us, sir.          I think it was Ray Brook.

10:09:43AM10     I'm not sure, sir.

         11                    THE COURT: All right.

         12      BY MR. RODRIGUEZ:

         13      Q.    Mr. Wascher, do you remember roughly when it was that you

         14      and I first spoke about Mr. Marks?

10:10:04AM15     A.    I don't remember the exact date, no.          I believe it was

         16      shortly after I received the e-mail from Legal.

         17      Q.    All right.    After you had taken photographs and had this

         18      meeting?

         19      A.    Yes, sir.

10:10:11AM20     Q.    And during that session did you discuss with me what

         21      happened during your meeting with Mr. Marks?

         22      A.    Yes, sir.

         23      Q.    And did you also describe what you recall happening during

         24      the search of Mr. Marks' cell earlier in the year in February?

10:10:33AM25     A.    I believe so, yes, sir.
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             1   Q.    When you told me about what had happened during the search

             2   of his cell, did you have access or were you in a position to

             3   review that report when we initially talked?

             4   A.    Not at that time, sir.

10:10:50AM   5   Q.    All right.    I want to move you to one last topic that I

             6   want to cover.     As part of your work at SIS, do you have

             7   occasion to follow the money, if you will, to determine how

             8   much money is coming into inmates' accounts and whether any

             9   money is going out of the inmates' accounts?

10:11:11AM10     A.    Yes, sir.

         11      Q.    And did you have occasion to look at Mr. Marks' account to

         12      see if any money was coming in?

         13      A.    Yes, sir.

         14      Q.    And what, if anything, did you find?

10:11:24AM15     A.    I found numerous connections to dozens of other inmates

         16      that were either sending or receiving money to Mr. Marks; and

         17      a couple of outside contacts that were sending or receiving

         18      money to Mr. Marks.

         19      Q.    Did you find any indication that payments were coming from

10:11:39AM20     outside the facility in to Mr. Marks' account?

         21      A.    I believe there were a couple coming to him, most of them

         22      were going to another individual outside the institution.

         23      Q.    Do you remember how many payments were coming in?

         24      A.    Not the number of payments, no, sir.

10:11:52AM25     Q.    Would it help to refresh your recollection by reviewing
                 Case 6:03-cr-06033-DGL Document 526 Filed 12/19/19 Page 25 of 146
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             1   your declaration?

             2   A.    Yes, sir.

             3                 THE COURT: So you said money was going from other

             4   inmates to Mr. Marks, and there was money coming from outside

10:12:12AM   5   in to his account as well?

             6                 THE WITNESS: Yes, Your Honor.

             7                 THE COURT: All right.

             8   BY MR. RODRIGUEZ:

             9   Q.    I show you what's marked as Government Exhibit 2.             Can you

10:12:20AM10     identify what this is for the record?

         11      A.    This is my affidavit, sir.

         12      Q.    The affidavit that you signed and submitted to me?

         13      A.    Yes, sir.

         14      Q.    I'd like you to --

10:12:32AM15                   THE COURT: That's part of the record?

         16                    MR. RODRIGUEZ: It is, Judge, it's an exhibit to my

         17      sur-reply.

         18      BY MR. RODRIGUEZ:

         19      Q.    I'd like you to turn to paragraph 8 of your affidavit and

10:12:45AM20     review it and see if it refreshes your recollection.

         21      A.    Yes, sir.

         22      Q.    Now, were you able to determine how much money Mr. Marks

         23      was receiving from outside the facility at the time of this

         24      affidavit?

10:13:10AM25     A.    At the time, sir, but we don't have listed here the total
                 Case 6:03-cr-06033-DGL Document 526 Filed 12/19/19 Page 26 of 146
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             1   from everyone that he was receiving.

             2   Q.    Okay. Were you able to determine whether a Ms. Jacobi was

             3   sending him funds?

             4   A.    Yes, sir.

10:13:23AM   5   Q.    Were you able to determine how much he had received during

             6   his time at FMC Lexington from Ms. Jacobi?

             7   A.    Yes, sir.

             8   Q.    How much was that?

             9                   THE COURT: I'm sorry, I didn't catch the name.

10:13:33AM10                     MR. RODRIGUEZ: Ms. Jacobi.

         11                      THE COURT: Jacobi.

         12      BY MR. RODRIGUEZ:

         13      Q.    How much was that?

         14      A.    At the time of this affidavit, sir, it was $5,400.

10:13:41AM15     Q.    $5,400?

         16      A.    Yes, sir.

         17      Q.    Coming from Ms. Jacobi into Mr. Marks' account?

         18      A.    Yes, sir.

         19      Q.    Is that a lot of money --

10:13:50AM20     A.    Yes, sir.

         21      Q.    -- for an inmate to receive from outside?

         22      A.    Yes, sir.

         23      Q.    Now, you signed this affidavit on October 5, 2019?

         24      A.    That's correct, sir.

10:14:00AM25     Q.    And we filed our response on October 15, 2019.                Did you
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             1   have occasion to go back and review whether additional

             2   payments had been made by Ms. Jacobi to Mr. Marks' account

             3   after that affidavit?

             4   A.     Yes, sir.

10:14:21AM   5   Q.     What did you find?

             6   A.     I found -- I believe it was two more transactions,

             7   approximately $200 each.

             8   Q.     When were they?

             9   A.     I believe it was October 13th.

10:14:33AM10     Q.     And after that were there any more payments --

         11      A.     No, sir.

         12      Q.     -- from Ms. Jacobi?

         13      A.     No, sir.

         14      Q.     Did you also find payments from other inmates out to

10:14:43AM15     Ms. Jacobi?

         16      A.     Yes, sir.

         17      Q.     Is it a violation of BOP rules to run a business in a BOP

         18      facility?

         19      A.     Yes, sir.

10:14:51AM20     Q.     And do you believe this is what was going on with these

         21      payments?

         22      A.     I believe there was some type of business going on.             I'm

         23      not exactly sure of the nature of the business.             It had

         24      something to do with preparation of legal paperwork.                So, yes,

10:15:04AM25     sir.
                 Case 6:03-cr-06033-DGL Document 526 Filed 12/19/19 Page 28 of 146
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             1   Q.    But the payments stopped after we filed our papers,

             2   correct?

             3   A.    That's correct, sir.

             4   Q.    I forgot to ask you something, but going back to your

10:15:47AM   5   meeting with Mr. Marks when you photographed his tattoos, do

             6   you remember the exact words he said to you during that

             7   meeting?

             8   A.    In what reference, sir?

             9   Q.    The exact words about the Dirty White Boys.            The exact

10:16:03AM10     words?

         11      A.    To my recollection, his words were that he had run with

         12      the Dirty White Boys at Coleman, and that he had gotten tired

         13      of the politics because he had matured and realized how stupid

         14      it was; and they wanted him to assault -- or asked him to

10:16:18AM15     assault minorities and homosexuals and as he got older he

         16      realized how stupid that was, he tried to distance his self

         17      from those groups.

         18      Q.    I show you what's marked as -- direct your attention to

         19      Government Exhibit 2, the affidavit.          Just with respect to

10:16:37AM20     what he said about the beating of other inmates, take a look

         21      at the last sentence of paragraph 7.

         22      A.    Yes, sir.

         23      Q.    Does that refresh your recollection as to what he told you

         24      about beating up other inmates?

10:16:53AM25     A.    Yes, sir.
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             1   Q.    What did he say?

             2   A.    He told me he was a member of the Dirty White Boys and he

             3   beat up other inmates at the direction of gang leaders.

             4                 MR. RODRIGUEZ: Thank you, Mr. Wascher.            That's all

10:17:06AM   5   I have, Judge, thanks.

             6                 THE COURT: That report is different from your

             7   testimony a few minutes ago where you said he did not say

             8   that?   He did not admit assaulting anybody?

             9                 THE WITNESS: Yes, sir.        This is the actual written

10:17:23AM10     document.    I was trying to go off memory, sir.

         11                    THE COURT: Anything else, Mr. Rodriguez?

         12                    MR. RODRIGUEZ: Nothing further, Judge.            Thanks.

         13                    MR. GLEESON: May I, Judge?

         14                    THE COURT: Cross.

10:17:33AM15                                CROSS-EXAMINATION

         16      BY MR. GLEESON:

         17      Q.    Good morning.

         18      A.    Good morning, sir.

         19      Q.    My name is John Gleason.        I represent Chad Marks.

10:17:51AM20     A.    Yes, sir.

         21      Q.    You're an SIS technician?

         22      A.    That's correct, sir.

         23      Q.    Who's in charge, sir, of -- what should I call you?

         24      Officer?    What is your title?

10:18:09AM25     A.    At the institution it's -- they just call me Wascher.
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             1   Q.    Okay.

             2   A.    SIS technician is kind of a long title, sir.

             3   Q.    I'll call you Mr. Wascher.

             4   A.    That's fine, sir.

10:18:18AM   5   Q.    Mr. Wascher, who initiates the investigations that the SIS

             6   division conducts?

             7   A.    It would depend on the investigation, sir.

             8   Q.    Okay. Sometimes it comes from inmates?           It begins with

             9   information from inmates?

10:18:33AM10     A.    It could start with information from inmates, yes, sir.

         11      Q.    Okay. And you're a technician.         Who's Lieutenant Fowler?

         12      A.    Lieutenant Fowler was one of the lieutenants at FMC

         13      Lexington.

         14      Q.    Okay. You said "was."       He's gone?

10:18:49AM15     A.    Yes, sir.    He transferred.

         16      Q.    He was a lieutenant in SIS?

         17      A.    He filled in.     Currently we don't have an SIS lieutenant,

         18      so they would fill in different lieutenants to cover that

         19      position.

10:19:00AM20     Q.    Okay. What do you have now besides you?           You said there

         21      were two SIS folks.

         22      A.    There's myself and another technician, and then we have

         23      the SIA.

         24      Q.    That's an agent, right?

10:19:11AM25     A.    Correct.
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             1   Q.    The hierarchy is technician, then above that is the

             2   lieutenant, above that is the agent?

             3   A.    That's correct, sir.

             4   Q.    Who is the agent at FMC Lexington?

10:19:20AM   5   A.    SIA Sean Burchett.

             6   Q.    Spell that please.

             7   A.    B-U-R-C-H-E-T-T.

             8   Q.    Okay. Who is Richard Stump, do you know?

             9   A.    He is a former SIS technician.

10:19:30AM10     Q.    And was he a former SIS technician at FMC Lexington?

         11      A.    Yes, sir.

         12      Q.    He's rotated somewhere else I take it?

         13      A.    He's still there.      He took another position, sir.

         14      Q.    Got it.     The name Joyce Horikawa, familiar to you?

10:19:47AM15     A.    I believe she's in our Legal Department, sir.

         16      Q.    Yeah.     Do you know if she's in the Legal Department in

         17      Regional in Philadelphia?

         18      A.    No, sir.

         19      Q.    Okay.     And Carlos Martinez is in the Legal Department,

10:19:53AM20     correct?

         21      A.    I believe so, yes, sir.

         22      Q.    When you get inmate information regarding suspected

         23      criminal activity of other inmates, do you make a record of

         24      that?

10:20:13AM25     A.    Sometimes, sir.
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             1   Q.    Sometimes you do, sometimes you don't?

             2   A.    That's correct.

             3   Q.    What influences when you do and when you don't?

             4   A.    If the information sounds credible or something that needs

10:20:22AM   5   to be looked into.

             6   Q.    Okay. So the stuff that you don't think is credible and

             7   don't think you need looking into doesn't get recorded?

             8   A.    That would be correct.

             9   Q.    Okay. Are there any BOP records of this inmate information

10:20:47AM10     about Chad Marks and the SIM card?

         11      A.    I don't believe so, sir.

         12      Q.    You didn't create any, right?

         13      A.    No, sir.

         14      Q.    Is that because you didn't regard that information you got

10:20:55AM15     from the inmate as credible?

         16      A.    That's correct, because I wasn't an SIS technician at that

         17      time, sir.

         18      Q.    I see.     So some other SIS technician made that decision

         19      not to memorialize it?

10:21:04AM20     A.    I couldn't tell you what they decided, but --

         21      Q.    -- but, in any event, it wasn't memorialized, right?

         22      A.    That's correct.

         23      Q.    Nothing in the BOP files about this, right?

         24      A.    I have no idea, sir.

10:21:13AM25     Q.    You looked, didn't you?
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             1   A.    I can't tell you what's in all the BOP files, sir.

             2   Q.    Did you look in the files of FMC Lexington to see if

             3   there's anything in the files regarding the SIM card

             4   allegations by other inmates against Chad Marks?

10:21:28AM   5   A.    No, sir.

             6   Q.    You never looked?

             7   A.    No.

             8   Q.    But you know there's not -- it's not there, right?

             9   A.    No, I don't.

10:21:33AM10     Q.    I thought you testified a moment ago there's nothing in

         11      the file about it?

         12      A.    You asked me if there were anything in all the BOP files,

         13      and I said I couldn't tell you that.

         14      Q.    Is there anything in the FMC Lexington file?

10:21:44AM15     A.    Not to my knowledge.

         16      Q.    Did you look?

         17      A.    I haven't looked for that specifically, sir.

         18      Q.    Did you look at the files at FMC Lexington for information

         19      about reported criminal activity by Chad Marks?

10:21:59AM20     A.    Yes.

         21      Q.    Is there a single piece of paper in those files that

         22      records such information?

         23      A.    Which information?

         24                    MR. RODRIGUEZ: Objection.         What information?

10:22:08AM25     BY MR. GLEESON:
                 Case 6:03-cr-06033-DGL Document 526 Filed 12/19/19 Page 34 of 146
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             1   Q.    Any information about criminal activity.

             2   A.    Yes, sir.

             3   Q.    What?

             4   A.    There's numerous entries about him trying to introduce

10:22:15AM   5   Suboxone; being involved in altercations and fights.

             6   Q.    How about SIM cards?

             7   A.    No, sir.

             8   Q.    Nothing, right?

             9   A.    No, sir.

10:22:25AM10     Q.    Okay. Now, the technicians support the lieutenant and the

         11      agents, correct?

         12      A.    The SIS lieutenant?

         13      Q.    SIS.

         14      A.    Yes, sir.

10:22:34AM15     Q.    You write reports?

         16      A.    Yes, sir.

         17      Q.    Okay. You maintain evidence, correct?

         18      A.    Correct.

         19      Q.    Provide some computer support?

10:22:42AM20     A.    Yes, sir.

         21      Q.    Okay. Do you keep track of the Bureau of Prisons "public

         22      safety factor"?

         23      A.    Yes, sir.

         24      Q.    They effect prison security, correct?

10:22:51AM25     A.    That's correct.
                 Case 6:03-cr-06033-DGL Document 526 Filed 12/19/19 Page 35 of 146
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             1   Q.    They effect placement within the BOP system, correct?

             2   A.    Yes, sir.

             3   Q.    There's a bunch of public safety factors, right?

             4   A.    Yes.

10:22:59AM   5   Q.    A sex offender is one, right?

             6   A.    Yes, sir.

             7   Q.    Deportable aliens another, right?

             8   A.    Yes, sir.

             9   Q.    And one is called "disruptive group," correct?

10:23:09AM10     A.    Yes, sir.

         11      Q.    Is the Dirty White Boys a disruptive group?

         12      A.    No, sir.

         13      Q.    Okay. So if someone were in the Dirty White Boys, that

         14      wouldn't be a public safety factor, correct?

10:23:20AM15     A.    Yes, sir.

         16      Q.    Did you get training when you were promoted from being a

         17      corrections officer to an SIS technician?            Did you get

         18      training?

         19      A.    Yes, sir.

10:23:34AM20     Q.    Do you get training on creating reports?

         21      A.    Yes, sir.

         22      Q.    Okay. You wrote up BOP incident reports like the one that

         23      you saw here today when you were a corrections officer,

         24      correct?

10:23:45AM25     A.    That's correct, sir.
                 Case 6:03-cr-06033-DGL Document 526 Filed 12/19/19 Page 36 of 146
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             1   Q.    Okay.   Is it important that they be accurate?

             2   A.    Yes, sir.

             3   Q.    Important they be truthful?

             4   A.    Yes, sir.

10:23:51AM   5   Q.    Complete?

             6   A.    As complete as possible, sir.

             7   Q.    All right. Record the facts that are important to the

             8   incident and the investigation?

             9   A.    Yes, sir.

10:24:06AM10     Q.    Okay. Marks arrived at FMC Lexington in January of 2019,

         11      correct?

         12      A.    I'm not sure of the exact date, sir.

         13      Q.    Sound about right?

         14      A.    It does.

10:24:15AM15     Q.    Okay. Came from Ray Brook as far as you recall?

         16      A.    I don't believe -- I don't know the exact location.           I

         17      believe it was Ray Brook.

         18      Q.    Okay. Does it refresh your recollection that you told AUSA

         19      Martinez (sic) a few times that --

10:24:30AM20                   MR. RODRIGUEZ: Rodriguez.

         21                    MR. GLEESON: I'm sorry, excuse me, Rodriguez,

         22      excuse me, sir.

         23      BY MR. GLEESON:

         24      Q.    Does it refresh your recollection that you told him or let

10:24:38AM25     me -- withdrawn.
                 Case 6:03-cr-06033-DGL Document 526 Filed 12/19/19 Page 37 of 146
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             1                 Do you recall telling him during your information

             2   exchanges in this case that Mr. Marks was in a federal

             3   penitentiary in Coleman from roughly September of 2011 to

             4   January of 2013?      Do you recall that?

10:25:02AM   5   A.    Probably, yes, sir.

             6   Q.    Sounds right?

             7   A.    Yes, sir.

             8   Q.    Okay. Do you know that you're here in connection with a

             9   motion by Chad Marks to reduce his sentence?

10:25:14AM10     A.    Yes, sir.

         11      Q.    Okay. When did you first find that out approximately?

         12      A.    I discussed it with AUSA Martinez (sic).

         13                    MR. RODRIGUEZ: Rodriguez.

         14                    THE WITNESS: Rodriguez.

10:25:25AM15                   MR. GLEESON: Sorry.       I started something here.

         16      BY MR. GLEESON:

         17      Q.    Did he show you the opposition that he filed in

         18      August after your conversations?

         19      A.    I don't believe so.

10:25:37AM20     Q.    Have you ever seen it?

         21      A.    I don't believe so.

         22      Q.    Well, let me show it to you.        I'm going to mark this

         23      Defense Exhibit 2.

         24                    Ms. Taney, can I trouble you for a copy for the

10:25:59AM25     Court and one for the AUSA, whose name I won't get wrong
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             1   again?

             2                 THE COURT: Why don't we use letters -- A, B, C and

             3   so forth.

             4                 MR. GLEESON: Fair enough.

10:26:21AM   5   BY MR. GLEESON:

             6   Q.    This will be Defense A.

             7   A.    Thank you.

             8                 MR. GLEESON:      Can I hand one up to the Court?

             9                 THE COURT: Sure.       So this is Exhibit A, this is

10:26:43AM10     the --

         11                    MR. GLEESON: This is the opposition filed by the

         12      Government.

         13      BY MR. GLEESON:

         14      Q.    You have it before you, sir?

10:26:50AM15     A.    I do, sir.

         16      Q.    You see at the top the date is -- I'll represent to you,

         17      but you see at the top of the document it's filed August 23rd

         18      of 2019?

         19      A.    I do, sir.

10:27:01AM20     Q.    And do you recall speaking to AUSA Rodriguez on that date?

         21      A.    I don't recall specific dates.         I know I talked to him in

         22      August.

         23      Q.    I want to invite your attention to page 16 because it

         24      relates to the information you've imparted to the Court here

10:27:24AM25     today.     And when you get to page 16, there's two full
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             1   paragraphs, the second sentence of the first paragraph says --

             2   excuse me, of the second paragraph --

             3   A.    Yes, sir.

             4   Q.    -- "as recently as this year after his transfer to FMC

10:27:44AM   5   Lexington in January, the SIS learned that Marks was violating

             6   prison contraband rules by attempting to obtain a cell phone

             7   and by possessing a SIM card.         Based on that information,

             8   officers searched Marks' cell and located inside Marks' Bible

             9   a plastic card that SIM cards come in, but with the SIM card

10:28:10AM10     removed."

         11                    Do you see that?

         12      A.    I do, sir.

         13      Q.    You don't recall if you spoke to AUSA --

         14                    MR. RODRIGUEZ: Rodriguez.

10:28:28AM15     BY MR. GLEESON:

         16      Q.    -- Rodriguez that morning?

         17      A.    I don't recall the exact dates, no, sir.

         18      Q.    I'm going to show you Defense Exhibit B, which I'll

         19      represent to you is a cover letter and a bunch of e-mails

10:28:43AM20     supplied to the Government by AUSA Rodriguez.            Fair enough?

         21      A.    Yes, sir.

         22                    MR. RODRIGUEZ: Can I take a quick look?

         23                    MR. GLEESON: Yes, I've got a copy for you.

         24                    THE WITNESS: Thank you, sir.

10:29:25AM25     BY MR. GLEESON:
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             1   Q.    And if you look -- and, again, these were e-mails supplied

             2   to me by the Assistant U.S. Attorney.           If you look to page 27,

             3   look at the bottom, it says e-mails.          If you turn to 27 --

             4                 THE COURT: Page 27, that's the Bates number?

10:29:55AM   5                 MR. GLEESON: Yes, at the bottom, Judge, where it

             6   says e-mail 27 in bold in the lower left-hand corner.

             7                 THE COURT: Thank you.

             8   BY MR. GLEESON:

             9   Q.    See that on August 23rd at 7:37 a.m. Mr. Rodriguez

10:30:11AM10     introduced himself as a federal prosecutor here in Rochester,

         11      said he wanted to talk to you about Chad Marks.

         12                    You see that, sir?

         13      A.    Yes, sir.

         14      Q.    Does that refresh your recollection that you spoke to him

10:30:21AM15     on that day?

         16      A.    It's here, sir.      Like I said, I still don't remember it

         17      personally, but it's here.

         18      Q.    All right.    If you turn to page 28, you see that later

         19      that morning, 8:26 a.m., this is the top of e-mail 28, you

10:30:40AM20     sent an e-mail to Mr. Rodriguez attaching four photos of Chad

         21      Marks?

         22      A.    Yes, sir.

         23      Q.    Okay. And you also on page -- back on page 27, you send

         24      him an e-mail -- this is at the top -- informing him that

10:30:59AM25     Marks was at Coleman from September 1 of 2011 to January 15th
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             1   of 2013.

             2   A.    Yes, sir.

             3   Q.    You see that?

             4   A.    Yes, sir.

10:31:07AM   5   Q.    And fair to say you communicated with him on that day?

             6   A.    Yes, sir.

             7   Q.    You communicated with him by phone as well, correct?

             8   A.    I don't recall, sir.       I know I communicated by e-mail, but

             9   I don't recall if I talked to him on the phone.

10:31:23AM10     Q.    You don't recall talking to him on the phone?

         11      A.    I don't recall, no, sir.

         12      Q.    Okay.   You gave him information to use in opposition to

         13      the motion, correct?

         14      A.    I gave him the information that was requested, sir.

10:31:41AM15     Q.    Okay. If I can refer you back to the memo that I showed

         16      you, which is Defense Exhibit A, page 16, which says that

         17      officers searched Marks' cell and located inside Marks' Bible

         18      a plastic card that SIM cards come in.

         19                    You'll agree with me the statement that the

10:32:05AM20     officers located this plastic case inside Marks' Bible is

         21      false, correct?

         22      A.    It's incorrect, yes, sir.

         23      Q.    It was Moore's Bible, correct?

         24      A.    Moore claimed possession of the Bible, yes.

10:32:16AM25     Q.    Excuse me.    It was Moore's Bible, correct?
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             1                 MR. RODRIGUEZ: Objection.

             2                 THE COURT: What's the question, Mr. Gleeson?

             3   BY MR. GLEESON:

             4   Q.    It was Moore's Bible, right?

10:32:27AM   5   A.    Sir, Moore claimed possession of the Bible.

             6   Q.    Do you have any reason to doubt that it was Moore's Bible?

             7   A.    That the Bible belonged to Moore?          I do not.

             8   Q.    It was on top of his locker?

             9   A.    Yes, sir.

10:32:36AM10     Q.    He was examined about it?

         11      A.    Yes, sir.

         12      Q.    In a lieutenant's office?

         13      A.    Yes, sir.

         14      Q.    He said it was his Bible?

10:32:42AM15     A.    That's correct.

         16      Q.    In that locker were Moore's possessions?

         17      A.    That's correct.

         18      Q.    Did you tell AUSA Rodriguez that the SIM card was seized

         19      from Marks' Bible?

10:32:56AM20     A.    I believe I did initially, yes, sir.

         21      Q.    And that was wrong?

         22      A.    Yes, it was incorrect.

         23      Q.    Okay. Did you tell him that the Bible belonged to Thomas

         24      Moore?

10:33:06AM25     A.    Not during this phone conversation, no, sir.
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                                                                                     43




             1   Q.    And did you tell him in that conversation that Moore and

             2   not Marks was charged with possessing this piece of plastic

             3   that you say contained a SIM card?

             4   A.    No, sir.

10:33:24AM   5   Q.    In fact, you yourself wrote up the incident report

             6   charging Moore, right?

             7   A.    That is correct.

             8   Q.    And Moore ended up in the SHU, right?

             9   A.    The Special Housing Unit, yes, sir.

10:33:32AM10     Q.    Marks was never charged, right?

         11      A.    That is correct.

         12      Q.    Marks was never disciplined, right?

         13      A.    That is correct.

         14      Q.    He was never even asked about that, right?

10:33:41AM15     A.    I don't believe so, sir.

         16      Q.    Did you tell the AUSA that?

         17      A.    Not --

         18                     MR. RODRIGUEZ: I'm going to object to the form of

         19      the question.

10:33:48AM20                    THE COURT: Overruled.

         21      BY MR. GLEESON:

         22      Q.    Did you tell the AUSA that?

         23      A.    Not during this initial conversation.

         24      Q.    Did you think it important that the AUSA tell the Court

10:33:57AM25     that someone else was punished for this SIM card?
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             1   A.    Did I think?     I don't understand what you mean, sir.

             2   Q.    Did you think it important when you were speaking to AUSA

             3   Rodriguez that the Court should know that someone else was

             4   charged with possessing the SIM card?

10:34:16AM   5   A.    At this time I had no idea what was going on, sir.

             6   Q.    I'm asking you whether you thought it was important?

             7   A.    I can't answer that question, sir.

             8   Q.    Did you think it was important to tell the Court that

             9   Marks was not charged with it, but Moore was?

10:34:30AM10     A.    At what time, sir?

         11      Q.    At that time, August 23rd, 2019.

         12      A.    Sir, at this time I provided the information in my memory.

         13      I wasn't -- I didn't look at any documentation, I didn't

         14      refresh my memory.      That was the memory I had.

10:34:43AM15     Q.    You'll agree, won't you, that this brief that I drew your

         16      attention to makes it look like the BOP found evidence of

         17      contraband in Marks' Bible, correct?

         18      A.    Yes, sir, that statement does.

         19      Q.    And that wasn't true, right?

10:34:58AM20     A.    That's an incorrect statement, yes, sir.

         21      Q.    Did AUSA Rodriguez ask you for a copy of the incident

         22      report?

         23      A.    Yes, sir.

         24      Q.    Did you send it to him on August 23rd?

10:35:14AM25     A.    I can't recall if I sent it to him or if Legal pulled it
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             1   from the files.      I can't remember which one happened, sir.

             2   Q.    Do you know whether he had it before he wrote this

             3   memorandum to the Court?

             4   A.    I have no idea.

10:35:24AM   5   Q.    In any event, AUSA Rodriguez eventually came back to

             6   you -- withdrawn.

             7                 Did you learn that we, Chad Marks' lawyers, told

             8   the Court that there were false and misleading statements in

             9   this memorandum that I've shown you?

10:36:05AM10                   MR. RODRIGUEZ: Object to the form of the question.

         11                    THE WITNESS: I don't understand your question.

         12                    THE COURT: Overruled.

         13      BY MR. GLEESON:

         14      Q.    Did you learn that Chad Marks' lawyers told the Court that

10:36:16AM15     this memorandum that I've shown you, and specifically those

         16      statements that I read to you, were false and misleading?

         17      A.    Did I learn that you said that to the Court?

         18      Q.    Yes.

         19      A.    No.

10:36:28AM20     Q.    Okay. In any event, AUSA Rodriguez came back to you and

         21      asked you to file -- to write a declaration, correct?

         22      A.    That's correct, sir.

         23      Q.    Okay. Let's turn to that declaration, which I think you

         24      might have up there.

10:36:43AM25                   Did you mark that, Mr. Rodriguez?
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             1                 MR. RODRIGUEZ: No. 1, I believe.          No. 2, No. 2.

             2                 THE COURT: Exhibit 2.

             3                 MR. GLEESON: Ms. Taney, do you have extra copies of

             4   that?     This is Government Exhibit 2.

10:37:12AM   5   BY MR. GLEESON:

             6   Q.    You still have it in front of you, sir?

             7   A.    Yes, sir.

             8   Q.    At paragraph 3 you wrote that after Marks arrived at FMC

             9   Lexington, SIS, other corrections officers and I obtained

10:37:42AM10     information from inmates in the facility that Marks was

         11      violating prison contraband rules by attempting to obtain a

         12      cell phone and by actually possessing a SIM card, right?

         13                    I read that correctly?

         14      A.    That's correct, sir.

10:38:00AM15     Q.    Okay. Now, you say "SIS, other corrections officers and

         16      I."     Did all three of you obtain that information

         17      independently?

         18      A.    That's more than three.       It's multiple corrections

         19      officers, the SIS department, several lieutenants.

10:38:17AM20     Q.    So SIS got that information, right?

         21      A.    Yes, sir.

         22      Q.    And do you know who in SIS got it?

         23      A.    At that time the SIS technicians would have been Mr. Stump

         24      and Mr. Lawson.

10:38:29AM25     Q.    Okay. And so they received information -- this information
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             1   you claim, correct?

             2   A.    Yes, sir.

             3   Q.    And then multiple corrections officers?

             4   A.    Yes, sir.

10:38:39AM   5   Q.    Okay. And do you know who they are?

             6   A.    I can't tell you all of them, sir.          I know myself, Officer

             7   Hacker, Officer Vago.       There's quite a few of us that

             8   regularly conduct searches and interact with the inmates.

             9   Q.    Okay. Then you --

10:38:53AM10     A.    Yes, sir.

         11      Q.    -- also?

         12      A.    Also myself.

         13      Q.    So multiple sources of information, correct?

         14      A.    That is correct, sir.

10:38:59AM15     Q.    Okay. And the incident -- you testified earlier that there

         16      was -- the search occurred on February 21st, correct?

         17      A.    I believe that was correct, sir.

         18      Q.    And you have before you, the Government marked it, I

         19      believe, the incident report.         You have it up there, right?

10:39:20AM20     A.    Yes, sir.

         21      Q.    Government Exhibit 1?

         22      A.    Yes, sir.

         23      Q.    Okay. Who decided to search the cell?

         24      A.    That particular cell?

10:39:32AM25     Q.    Yes.
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             1   A.    We searched it.      It was on the alley that we were

             2   searching other cells.

             3   Q.    And who made the decision to search the cell?

             4   A.    I can't recall that, sir.

10:39:41AM   5   Q.    There a process that, you know, out here, outside of

             6   prisons, there's a process for conducting a search where

             7   authority is obtained from a judge.          Is there anything

             8   analogous to that in the BOP setting where someone's authority

             9   is obtained to search?

10:40:01AM10     A.    Whose authority, sir?

         11      Q.    Anyone.

         12      A.    You mean like an inmate's authority to search?

         13      Q.    Yeah, I mean, it may be true -- and you're going to edify

         14      me in this regard -- that an SIS technician can just decide to

10:40:13AM15     search a cell on his or her own; is that correct?

         16      A.    An officer can search an inmate's person, property,

         17      assignments at any time he decides.          So if an officer can do

         18      it, anyone from an officer to staff member to SIS to

         19      lieutenant to the warden himself can do it, sir.

10:40:29AM20     Q.    Okay.     In this case this search on February 21st, do you

         21      remember specifically who authorized the search?

         22      A.    I just said I don't remember that, sir.

         23      Q.    Okay. In any event, if you look at Government Exhibit 1,

         24      which is the incident report, it says -- and I'll invite your

10:40:55AM25     attention to paragraph 11, which is the description of the
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             1   incident -- "on Thursday 21 February 2019 at approximately

             2   10:40 p.m. I, SCO S. Wascher, was conducting random cell

             3   searches in the Bluegrass Unit," correct?

             4   A.    That's what it says, sir, yes.

10:41:30AM   5   Q.    Okay. Is that correct?

             6   A.    That is correct.

             7   Q.    Okay. And you also testified and you wrote in your

             8   declaration that the basis for the search was this suspicion

             9   that Chad Marks possessed a SIM card, correct?

10:41:47AM10     A.    For that particular cell, yes, sir.

         11      Q.    Excuse me?

         12      A.    For that particular cell, yes, sir.

         13      Q.    But you didn't write that in the incident report, correct?

         14      A.    No, sir.

10:41:58AM15     Q.    The incident report says that this was a random search,

         16      this was pursuant to a random search of all the cells in the

         17      Bluegrass Unit, correct?

         18      A.    That's not what it says, sir.

         19      Q.    Well, it says conducting random cell searches of the

10:42:13AM20     Bluegrass Unit, correct?

         21      A.    That is correct.

         22      Q.    And there's nothing in here that suggests that the purpose

         23      of the search of this cell was other information about Chad

         24      Marks, is there?

10:42:24AM25     A.    No, there is not.
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             1   Q.    And is that written anywhere?

             2   A.    I don't believe so, sir.

             3   Q.    Other than your declaration?

             4   A.    I don't believe so.

10:42:31AM   5   Q.    Isn't it a fact that the basis of the search was this

             6   random search and not information supplied by other inmates?

             7   A.    Of which part of the search, sir?

             8   Q.    Of the search of Chad Marks' cell.

             9   A.    The initial search was a random search of that alley.

10:42:52AM10     When we got to his cell, we had prior information about

         11      Inmate Marks, so we decided to include his cell into that

         12      search.

         13      Q.    Why didn't you put that reason in this incident report?

         14      A.    Incident report is supposed to be factual information,

10:43:04AM15     sir, not what I believed or what I thought.            It's factual

         16      information about what occurred at that time.

         17      Q.    And the factual information you're testifying to here

         18      today is that the reason for the search was suspicion of Chad

         19      Marks, correct?

10:43:20AM20     A.    The reason of the search was suspicion that Chad Marks may

         21      have in his possession contraband.

         22      Q.    And that's factual information, correct?

         23      A.    Yes, sir.

         24      Q.    And the purpose set forth here was to conduct a random

10:43:33AM25     search, correct?
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             1   A.    It doesn't say random search of Inmate Marks' cell, sir.

             2   It says of the Bluegrass Unit.

             3   Q.    Would you agree with me that the statement that Wascher

             4   was conducting random cell searches of the Bluegrass Unit is a

10:43:47AM   5   factual assertion?

             6   A.    Yes, sir.

             7   Q.    And that factual assertion is different from the one

             8   you're including here is the purpose of your search, right?

             9   A.    For Inmate Marks' cell or for the Bluegrass Unit, sir?

10:44:00AM10     Q.    You tell me.

         11                    MR. RODRIGUEZ: Object to the form.

         12                    THE WITNESS: I did tell you, sir.          It was a random

         13      search of the Bluegrass Unit of that alley.            When we came upon

         14      Marks' cell, we had prior information he may be in possession

10:44:10AM15     of contraband.     So we decided to include that cell as well.

         16      BY MR. GLEESON:

         17      Q.    Your testimony is the search of his cell was pursuant to

         18      an investigation of Chad Marks, correct?

         19      A.    No, I never said that.

10:44:23AM20     Q.    But it was based on information that he had a SIM card,

         21      right?

         22      A.    Yes.

         23      Q.    There is -- just to cut to one chase with respect to this

         24      incident report -- the name Chad doesn't appear anywhere in

10:44:35AM25     the report, right?
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             1   A.    Which report, sir?

             2   Q.    Your incident report that's in front of you.

             3   A.    No, sir.

             4   Q.    The name Marks doesn't, correct?

10:44:42AM   5   A.    No, sir.

             6   Q.    What was the reason you didn't place on this incident

             7   report that the basis for the search of this particular cell

             8   included information about Marks?

             9                 MR. RODRIGUEZ: Objection, asked and answered.

10:45:12AM10                   THE COURT: Overruled.        It's cross-examination.

         11                    THE WITNESS: As stated earlier, I only put the

         12      factual information about what occurred in that cell.               I

         13      wasn't putting my opinions or what I believed or what I

         14      thought happened.      I was putting the factual information about

10:45:25AM15     what happened during that search and what we found in the

         16      cell.

         17      BY MR. GLEESON:

         18      Q.    You wrote in your declaration in October that I and other

         19      officers believed that the plastic SIM card belonged to Chad

10:45:40AM20     Marks.    Do you recall that, sir?

         21      A.    Yes, sir.

         22      Q.    Okay. Did you believe that at the time the plastic was

         23      seized?

         24      A.    At the time we located it?

10:45:47AM25     Q.    Yes.
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             1   A.    Yes, sir.

             2   Q.    Okay. And you based your belief on your claim that it's

             3   common -- withdrawn.

             4                 Did you say on direct examination that if you had

10:46:08AM   5   to guess whether Moore was coerced, you would say he was

             6   because Chad Marks is arrogant?

             7   A.    I did not say that at all, sir.

             8   Q.    You based your belief of your claim that this is -- you

             9   based your belief that this was Marks' SIM card on your claim

10:46:31AM10     that it's common in BOP facilities that stronger or more

         11      connected inmates coerce weaker and less connected ones; is

         12      that correct?

         13      A.    That's not what I said either, sir.

         14      Q.    Could you look at your declaration that's before you,

10:46:47AM15     paragraph 5?      Second sentence of paragraph 5 you wrote "it is

         16      common in BOP facilities that stronger or more connected

         17      inmates coerce weaker or less connected cellmates."

         18                    You wrote that, right?

         19      A.    Yes, sir.

10:47:19AM20     Q.    Isn't that, sir, didn't you just say to the Court in this

         21      declaration that the basis of your belief that the SIM card,

         22      that plastic -- withdrawn.

         23                    Am I understanding it correctly that your

         24      declaration attributes your belief that Marks coerced Moore to

10:47:44AM25     this common phenomenon in BOP?
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             1                 MR. RODRIGUEZ: Object to the form of the question.

             2   BY MR. GLEESON:

             3   Q.    Do you understand my question?

             4                 THE COURT: Overruled.

10:47:53AM   5                 THE WITNESS: Common phenomenon, sir?

             6   BY MR. GLEESON:

             7   Q.    It is common -- I'm reading from your declaration.

             8   A.    Yes, sir.

             9   Q.    "It's common in BOP facilities that stronger or more

10:48:04AM10     connected inmates coerce weaker or less connected cellmates,"

         11      right?    I read that correctly?

         12      A.    Yes, sir.

         13      Q.    That's one of the bases of your belief that this was

         14      actually Marks' plastic and not Moore's; is that correct?

10:48:19AM15     A.    Are you talking about at the time of this affidavit or at

         16      the time of the search, sir?

         17      Q.    Well, let's separate it.        At the time of the search?

         18      A.    At the time of the search I had no reason to believe that

         19      Mr. Marks had intimidated or coerced anyone.

10:48:33AM20     Q.    All right.

         21      A.    I was following up on information.

         22      Q.    So at the time you wrote the affidavit you thought -- you

         23      wrote the declaration, okay.

         24                    And you also based it on the fact that if

10:48:44AM25     contraband is discovered -- I'm paraphrasing from your
                 Case 6:03-cr-06033-DGL Document 526 Filed 12/19/19 Page 55 of 146
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             1   declaration -- a stronger inmate coerces the cellmate to take

             2   responsibility, correct?

             3   A.    That's very common, yes, sir.

             4   Q.    And Moore had no history of disciplinary violations?

10:48:57AM   5   A.    None.

             6   Q.    And based on that you concluded that Marks coerced Moore

             7   into holding the plastic card, correct?

             8   A.    I believe he could have, yes, sir.

             9   Q.    That he could have?

10:49:07AM10     A.    Yes, sir.

         11      Q.    Okay. And is that what you told AUSA Rodriguez, that he

         12      could have?

         13      A.    It's written here is that he did, but yes, I believe he

         14      could have.

10:49:17AM15     Q.    Which is it, did or could have?

         16      A.    Both, sir.

         17      Q.    Okay.   On the night of the search Moore was taken to the

         18      lieutenant's office to be questioned, correct?

         19      A.    That is correct, sir.

10:49:31AM20     Q.    And the incident report describes the questioning, right?

         21      A.    I don't believe so, sir.

         22      Q.    Well, let me invite your attention back to Government

         23      Exhibit 1, paragraph 11.        It has a long single spaced

         24      paragraph that describes the information that Moore imparted

10:49:53AM25     in the lieutenant's office, correct?
                 Case 6:03-cr-06033-DGL Document 526 Filed 12/19/19 Page 56 of 146
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             1   A.    Yes, sir.

             2   Q.    And this is obviously based on an interrogation of Moore,

             3   right?

             4   A.    We don't interrogate inmates, sir.

10:50:01AM   5   Q.    What do you call it?

             6   A.    Interviews.

             7   Q.    Sorry?

             8   A.    An interview.

             9   Q.    Based on an interview of Moore?

10:50:06AM10     A.    It's based on it, yes, sir.

         11      Q.    And the interview includes asking questions of Moore?

         12      A.    It does.

         13      Q.    Okay. So he was asked whether it was his Bible, right?

         14      A.    Yes, sir.

10:50:15AM15     Q.    Asked whether he had other Bibles?

         16      A.    I believe so, sir.

         17      Q.    He was asked what he used the Bible for, correct?

         18      A.    Yes, sir.

         19      Q.    Okay. Where he kept it?

10:50:26AM20     A.    Yes, sir.

         21      Q.    Okay. You now say that Moore was being coerced by Marks to

         22      take the fall, correct?

         23      A.    Yes, sir.

         24      Q.    Okay. And you knew then, so you say, you knew then there

10:50:40AM25     was informant information that -- or inmate information that
                 Case 6:03-cr-06033-DGL Document 526 Filed 12/19/19 Page 57 of 146
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             1   Marks was trying to possess a SIM card, correct?

             2   A.    Yes, sir.

             3   Q.    Okay. But there's nothing in here about Marks in this

             4   incident report, correct?

10:50:56AM   5   A.    That's correct, sir.

             6   Q.    There's no indication in here whatsoever of any suspicion

             7   that the SIM card was Marks', right?

             8   A.    That's correct, sir.

             9   Q.    Okay. Was he questioned about whether it was Marks' SIM

10:51:11AM10     card?

         11      A.    I don't believe he was asked if it was specifically Marks'

         12      SIM card.

         13      Q.    Did you ask him, "is this Marks' SIM card?"

         14      A.    I didn't ask him anything, sir.

10:51:19AM15     Q.    Who did the questioning?

         16      A.    Lieutenant Burchett.

         17      Q.    Were you present?

         18      A.    Yes, sir.

         19      Q.    Okay. Did anybody ask him whether Marks was the owner of

10:51:27AM20     this SIM card holder?

         21      A.    I don't recall whether he asked him or not.

         22      Q.    Isn't it a fact it wasn't asked at all?

         23      A.    I can't say it was a fact, sir, because I told you I don't

         24      remember.

10:51:35AM25     Q.    And your testimony is that the search of that cell was
                 Case 6:03-cr-06033-DGL Document 526 Filed 12/19/19 Page 58 of 146
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             1   based on a suspicion that Marks was trying to possess a SIM

             2   card, right?

             3   A.    Yes, sir.

             4   Q.    And there was no questioning of Moore about whether Marks

10:51:51AM   5   was the person responsible for the SIM card holder, isn't that

             6   a fact?

             7   A.    Sir, I've already answered that.         I can't remember.

             8   Q.    And that would have been important to your investigation,

             9   right?

10:52:00AM10     A.    I didn't have an investigation, sir.

         11      Q.    That would be important to the investigation of the SIM

         12      card, the attempt to hold a SIM card, wouldn't it, sir?

         13      A.    There was no investigation, sir.

         14      Q.    When the SIM card holder was found and Moore was

10:52:18AM15     questioned, there was no investigation as to whether Chad

         16      Marks was responsible for the SIM card?

         17      A.    No, sir.

         18      Q.    None?

         19      A.    No, sir.

10:52:30AM20     Q.    I thought you testified that was the purpose of the search

         21      of that cell?

         22      A.    No, sir.    I testified that the purpose of the search of

         23      that cell was that we had previous information.             There was no

         24      open investigation on Inmate Marks.

10:52:48AM25     Q.    You had previous information of what?
                 Case 6:03-cr-06033-DGL Document 526 Filed 12/19/19 Page 59 of 146
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             1   A.     As I stated earlier, that he had possession of a SIM card

             2   and was trying to obtain a telephone.

             3   Q.     That was the purpose of the search of the cell, correct?

             4   A.     Yes, sir.

10:53:00AM   5   Q.     And what you say was a SIM card holder was retrieved?             Was

             6   seized, correct?

             7   A.     Correct.

             8   Q.     And Moore was questioned, interviewed about that as you

             9   say, correct?

10:53:13AM10     A.     That's correct.

         11      Q.     And nobody thought to question him as to whether Marks had

         12      any connection to the SIM card holder?

         13      A.     I can't remember the exact questions that were answered,

         14      sir.    I didn't --

10:53:26AM15     Q.     I'm not asking you the exact questions.          I'm asking you

         16      whether or not in those circumstances there was no -- whether

         17      there was any suspicion of Marks in the questioning --

         18      withdrawn, bad question.

         19                    This was your summary of the interview of Moore,

10:53:40AM20     correct?

         21      A.     Correct, sir.

         22      Q.     You said on direct in response to AUSA Rodriguez's

         23      question why Moore was brought to the lieutenant's office,

         24      correct?

10:54:08AM25     A.     Correct, sir.
                 Case 6:03-cr-06033-DGL Document 526 Filed 12/19/19 Page 60 of 146
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             1   Q.    And you said it was because the location of the SIM card

             2   identified as his property, correct?

             3   A.    It was among his other personal possessions, so it was

             4   linked to him, yes, sir.

10:54:24AM   5   Q.    It was on top of a locker, right?

             6   A.    Yes, sir.

             7   Q.    Okay.

             8                 THE COURT: We've been proceeding a while, maybe

             9   this would be a time to take a break.

10:54:39AM10                   MR. GLEESON: Fine, Judge.         Thank you.

         11                    THE COURT: All right, take about a ten minute

         12      break, give the court reporter some relief.            Thank you.

         13                    (WHEREUPON, there was a pause in the proceeding.)

         14                    (WHEREUPON, the defendant is present).

11:12:09AM15                   THE COURT: We'll continue with --

         16                    MR. GLEESON: Can I continue, Judge?

         17                    THE COURT: -- with cross-examination, and maybe try

         18      to bring this area to some conclusion here.

         19                    MR. GLEESON: I'm already moving on, Judge.

11:12:37AM20     BY MR. GLEESON:

         21      Q.    Do you recall that in early August Mr. Martinez -- Mr.

         22      Martinez, to set the stage again, is an attorney at FMC

         23      Lexington, correct?

         24                    THE COURT: Mr. Rodriguez.

11:12:53AM25                   MR. GLEESON: Mr. Martinez is an attorney at FMC --
                 Case 6:03-cr-06033-DGL Document 526 Filed 12/19/19 Page 61 of 146
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             1                 MR. RODRIGUEZ: Another Martinez.

             2                 THE WITNESS: Yes, sir.

             3                 MR. RODRIGUEZ: His name is probably Rodriguez as

             4   well.

11:13:02AM   5                 MR. GLEESON:      Source of my confusion.

             6                 THE COURT: I'm sorry.

             7   BY MR. GLEESON:

             8   Q.    Did you learn that he passed along a request to SIS from

             9   Regional about Chad Marks?

11:13:16AM10     A.    Are you referring to the photographs, sir?

         11      Q.    No.   Earlier in August.

         12      A.    You'd have to clarify, sir.        I'm not sure what you're

         13      asking.

         14      Q.    Sure, let's take a look at the e-mails which we've marked

11:13:32AM15     as Defense Exhibit B, and let me invite your attention to page

         16      48.     At the top you see an e-mail from you -- see Mr. Stump,

         17      Mr. Stump at the time was an SIS technician at FMC Lexington,

         18      right?

         19      A.    That's correct, sir.

11:14:02AM20     Q.    Okay. And actually look at the bottom.           You see on

         21      August 5th Mr. Stump writes an e-mail saying I spoke with

         22      Mrs. Horikawa and supplied the information she requested.

         23                    You see that?

         24      A.    I do, sir.

11:14:18AM25     Q.    Did you have any involvement in this?
                 Case 6:03-cr-06033-DGL Document 526 Filed 12/19/19 Page 62 of 146
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             1   A.    Not to my knowledge, sir.

             2   Q.    You know Horikawa is a Regional -- an attorney in

             3   Regional, correct?

             4   A.    I know she's in Legal for the Bureau.           I'm not sure of her

11:14:31AM   5   exact position, sir.

             6   Q.    Okay. Look on page 48.       You can see Horikawa, the attorney

             7   for BOP, asked Martinez, the attorney at FMC Lexington, to see

             8   if Marks had any SIS information linking him to criminal or

             9   bad activity.

11:14:59AM10                   Do you see that, sir?

         11      A.    Down at the bottom of the page, sir?

         12      Q.    Yes.   See that?

         13      A.    Yes, sir.

         14      Q.    That's August 2nd, correct?

11:15:13AM15                   MR. RODRIGUEZ: Objection.

         16      BY MR. GLEESON:

         17      Q.    According to the e-mail.

         18      A.    According to the e-mail, yes, sir, August 2nd.

         19      Q.    Okay. And we just read that, an e-mail pursuant to

11:15:23AM20     which -- not pursuant to which.         An e-mail stating that Stump

         21      supplied that information to Horikawa on August 5th.

         22                    You saw that?

         23      A.    I'm not sure what he's supplying.          He said I spoke with

         24      Ms. Horikawa and supplied the information.

11:15:38AM25     Q.    That's my question.      What information was that?
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             1   A.    I have no idea, sir.

             2   Q.    Were you in SIS then?

             3   A.    I was.

             4   Q.    Did you confer with Stump then?

11:15:46AM   5   A.    No.

             6   Q.    Did you confer with Horikawa then?

             7   A.    No.

             8   Q.    Do you know what information was supplied by SIS to

             9   Regional in response to the Government's request?

11:15:56AM10     A.    As stated, sir, I have no idea what it was.

         11      Q.    Do you know we requested that?

         12      A.    No.

         13      Q.    Okay.    You know it was refused?

         14      A.    No, sir.

11:16:02AM15     Q.    In any event, you weren't involved in that?

         16      A.    No, sir.

         17      Q.    So the information in the SIS files about Chad Marks was

         18      supplied by one of your colleagues, Stump, correct?

         19                     MR. RODRIGUEZ: Objection.        He said he didn't know,

11:16:16AM20     Judge.

         21                     THE WITNESS: According to the e-mail, it shows

         22      Mr. Stump, but I'm not sure.

         23      BY MR. GLEESON:

         24      Q.    All right. In any event, a couple weeks later you were

11:16:25AM25     asked to perform a particular task, right?
                 Case 6:03-cr-06033-DGL Document 526 Filed 12/19/19 Page 64 of 146
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             1   A.    I'm not sure.     Again, the exact date, I'd have to look at

             2   the e-mails to see the exact date.

             3   Q.    We'll get to the e-mails in a minute.           But you were asked

             4   to examine a specific tattoo on the body of Chad Marks,

11:16:38AM   5   correct?

             6   A.    Correct, sir.

             7   Q.    Okay. And you know that that request emanated from the

             8   Assistant U.S. Attorney in this case, right?

             9   A.    Yes, sir.

11:16:54AM10     Q.    And it arose out of -- you were told that it arose out of

         11      the fact that he saw a photograph of Chad Marks on social

         12      media, correct?

         13      A.    I believe that's correct, sir.

         14      Q.    Okay.   If you turn to page 35 in the same exhibit -- tell

11:17:18AM15     me when you're there, please, Mr. Wascher.

         16      A.    I just passed it.      Okay, sir.

         17      Q.    At the top there's an e-mail from Horikawa to Martinez

         18      saying, "Carlos, sorry about this, but the AUSA searched

         19      social media and saw what appears to be a recent photo Marks

11:17:41AM20     posted on a social media page."

         21                    Did you see this message at any point, sir?

         22      A.    I can't recall, sir.

         23      Q.    Was the essence of this conveyed to you?

         24      A.    What was conveyed to me was they were curious about the

11:17:54AM25     tattoo, they wanted information about the tattoo.
                 Case 6:03-cr-06033-DGL Document 526 Filed 12/19/19 Page 65 of 146
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             1   Q.    A tattoo with the word Pride on it, correct?

             2   A.    I believe that was all that was visible on the picture.

             3   Q.    And that's the tattoo in question, correct?

             4   A.    Correct, sir.

11:18:05AM   5   Q.    All right.    And what specifically were you asked to

             6   inquire about or look into?

             7   A.    Just get more information about the tattoo, what it was.

             8   Q.    Okay. Was the Dirty White Boy issue raised before you?

             9   A.    No, sir.

11:18:22AM10     Q.    Okay. Were you looking for anything in particular on the

         11      tattoo?

         12      A.    No, sir.

         13      Q.    Okay. Were you looking for any evidence that it was a

         14      tattoo affiliated -- evidence of affiliation with the Dirty

11:18:34AM15     White Boys?

         16      A.    No, sir, I wasn't looking for anything.           I was just trying

         17      to get a clear picture of the tattoo for them.

         18      Q.    Okay. And the inquiry you were asked to conduct was

         19      specific to that tattoo, correct?

11:18:47AM20     A.    That's correct.

         21      Q.    And that's the reason you had Chad Marks brought to your

         22      office on August 17th, correct?

         23      A.    To get a picture of the tattoo, yes, sir.

         24      Q.    Just for the Court's edification, let me invite your

11:19:17AM25     attention to page 37 of Defense Exhibit B.            Had you seen that
                 Case 6:03-cr-06033-DGL Document 526 Filed 12/19/19 Page 66 of 146
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             1   photo before August 17th?

             2   A.    Not to my knowledge, sir.

             3   Q.    Okay.   Is that the photo that gave rise, as far as you

             4   know, gave rise to your meeting on August 17th with Chad

11:19:43AM   5   Marks?

             6   A.    To the best of my knowledge, sir.

             7   Q.    Okay. And it's on his left arm -- it's hard to see from

             8   this photograph, but looks like the word Pride peeking out

             9   from below his left shirt sleeve, correct?

11:19:56AM10     A.    Yes, sir.

         11      Q.    Okay. It turns out that's right, it is Pride, right?

         12      A.    Yes, sir.

         13      Q.    You saw it close up, right?

         14      A.    Yes, sir.

11:20:03AM15     Q.    And so you brought him to your office, correct?

         16      A.    That's incorrect.

         17      Q.    Someone else brought him?

         18      A.    I don't recall who brought him over, if he came over by

         19      his self.     He came to the lieutenant's office, though, sir.

11:20:17AM20     Q.    I got it.    And you had him strip down?

         21      A.    I believe I had him just go down to his shorts.

         22      Q.    Yeah.   Did you need to do that to examine this tattoo?

         23      A.    That's our standard practice for doing a photo shoot of an

         24      inmate, sir.

11:20:33AM25     Q.    You didn't need to do that to examine the tattoo, correct?
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             1   A.     I conducted the standard practice for doing a photo shoot,

             2   sir.

             3   Q.     Did you need to have him strip to his shorts?

             4                 MR. RODRIGUEZ: Objection, asked and answered.

11:20:45AM   5                 THE WITNESS: Sir, I followed our standard practice

             6   for conducting a photo shoot.

             7   BY MR. GLEESON:

             8   Q.     Were you asked to conduct a photo shoot?

             9   A.     I provided a photo shoot.

11:20:56AM10     Q.     I know that.    Were you asked to examine a tattoo on the

         11      one hand or asked to conduct a photo shoot on the other?

         12      A.     I don't recall what the exact instructions were.             They

         13      just wanted information regarding that tattoo.

         14      Q.     Did you think you might help out AUSA Rodriguez by going

11:21:12AM15     beyond the mission you were given?

         16      A.     Quite the opposite.     I was a little busy.       That was a step

         17      out of my lane right now because I was extremely busy with

         18      other stuff.

         19      Q.     Did you find the tattoo that you were asked to examine

11:21:28AM20     suspicious?

         21      A.     No.

         22      Q.     Okay. What's the rest of it consist of?

         23      A.     Of the tattoo, sir?

         24      Q.     Yes.

11:21:36AM25     A.     I believe it was Irish Pride, and don't even ask me to
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             1   describe what the character is.         I don't know if it's a

             2   leprechaun or a guy dancing.         I'm not sure.

             3   Q.    Isn't it a fact it's Irish Pride and a leprechaun?

             4   A.    Again, sir, I said I don't know.         I couldn't tell you if

11:21:54AM   5   it's a fact.      I don't know what that figure was.         I know it

             6   says Irish Pride.

             7   Q.    And do you -- in your mind, is that indicative of any gang

             8   membership?

             9   A.    No, sir.

11:22:06AM10     Q.    Okay. Did you write back to -- by the way, there are other

         11      Irish related tattoos on Mr. Marks, correct?

         12      A.    I don't recall, sir.

         13      Q.    Do you recall Erin go Braugh?

         14      A.    No, sir.

11:22:19AM15     Q.    You don't recall that tattoo?

         16      A.    I don't recall what other tattoos were on him, sir.           I

         17      wasn't focused -- I was just taking the pictures.

         18      Q.    You wrote back to Ms. Horikawa that day, correct?

         19      A.    I can't recall, sir.       If the e-mails say that.

11:22:37AM20     Q.    Okay. Well, let me invite your attention to page 53.

         21      A.    53, sir?

         22      Q.    Yes.   Of that set of e-mails that's marked as Defense

         23      Exhibit B.

         24      A.    Yes, sir.

11:23:06AM25     Q.    And you wrote to her, and this is in the middle of page
                 Case 6:03-cr-06033-DGL Document 526 Filed 12/19/19 Page 69 of 146
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             1   53, "I pulled the inmate in and took photographs of the

             2   inmate.     Attached you will find a photo of the tattoo in

             3   question.     It says Irish Pride on it."

             4                 And then you go on and say "the inmate admitted he

11:23:30AM   5   had previously been part of the Dirty White Boys.             However, I

             6   do not know if this tattoo is affiliated with that group.             If

             7   you have any questions or require any further information,

             8   don't hesitate to contact us."

             9                 Prior to your conversation with Chad Marks, had you

11:23:57AM10     heard of the Dirty White Boys?

         11      A.    Yes, sir.

         12      Q.    Is that a prominent gang within the Bureau of Prisons?

         13      A.    I wouldn't say they're prominent.          They're a mid to low

         14      level.    They're not like the Aryan Brotherhood or the Bloods

11:24:10AM15     or the Crips.

         16      Q.    And they're not a group that is a public safety factor?

         17      A.    We have different public safety factors.           Which ones do

         18      you mean, sir?

         19      Q.    Are they a designated -- earlier on I asked you whether or

11:24:29AM20     not the disruptive group public safety factor included the

         21      Dirty White Boys, and I think you said it does not, correct?

         22      A.    Disruptive group doesn't, but disruptive group is very

         23      exclusive.     There's STGs and there's disruptive group.

         24      Q.    But you knew about the Dirty White Boys?

11:24:47AM25     A.    Yes, sir.
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             1   Q.    Do you know about the tattoos that are associated with

             2   that group?

             3   A.    I am familiar with their main tattoos that associate them.

             4   Q.    Which are what?

11:24:55AM   5   A.    It's typically a guard tower or prison wall, something

             6   like that, representing an institution; and sometimes it will

             7   have like the name of that institution somewhere on that

             8   tattoo.

             9   Q.    And you didn't see any of that on Chad Marks?

11:25:09AM10     A.    I did not.

         11      Q.    You didn't see DWB, correct?

         12      A.    Not to my recollection, no, sir.

         13      Q.    You heard 707 is affiliated with the Dirty White Boys?

         14      A.    I'm not sure, sir.

11:25:18AM15     Q.    Okay.   Did you -- when you wrote this e-mail to

         16      Ms. Horikawa on August 17th, did you believe that it's

         17      possible that Irish Pride and a leprechaun might be associated

         18      with the Dirty White Boys?

         19      A.    I had no idea.     It could be.     I don't know.      As I stated,

11:25:37AM20     I don't know all of their tattoos or everything that goes with

         21      it.

         22      Q.    And you knew at the time of this encounter with Mr. Marks

         23      he had this motion to reduce his sentence pending, correct?

         24      A.    I don't believe so, sir.        I was just asked about the

11:25:58AM25     tattoo.
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             1   Q.    Okay.

             2   A.    No one briefed me on everything that was going on.

             3   Q.    All right.    And you said on your direct that you had in a

             4   casual conversation with him he told you that he ran with the

11:26:12AM   5   Dirty White Boys, correct?

             6   A.    Correct, sir.

             7   Q.    When was the first time that you said to anyone that Marks

             8   supposedly said to you that he ran with the Dirty White Boys?

             9   A.    I don't recall, sir.       It was probably in my e-mail reply

11:26:30AM10     regarding the tattoo.

         11      Q.    The e-mail reply on page 53?

         12      A.    Is that the first response I had, sir?

         13      Q.    Sorry?

         14      A.    Was that the first response back regarding the tattoo?

11:26:44AM15     Q.    I don't know.

         16      A.    So I can't -- I would assume it would be the first

         17      response back.     I'm not sure if that's the first response

         18      back.

         19      Q.    Didn't he tell you that he quit the Dirty White Boys,

11:26:55AM20     according to you, that he quit the Dirty White Boys when he

         21      was in Coleman?

         22      A.    He didn't say he quit.       He said he didn't -- would

         23      distance himself from them because he didn't believe in what

         24      they believed basically.

11:27:06AM25     Q.    Did you write in your declaration that he dropped out of
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             1   it while he was in FCC Coleman?

             2   A.    I don't believe so, sir.

             3   Q.    Look at paragraph 7 of your declaration.

             4   A.    Yes, sir.

11:27:31AM   5   Q.    Right?   He told you that he quit, he dropped out of the

             6   Dirty White Boys according to you, correct?

             7   A.    Correct, sir.

             8   Q.    Do you know that the AUSA -- do you know that the

             9   Government in its application to the Court in opposition to

11:27:46AM10     the motion to reduce sentence stated that, according to you,

         11      he told you that he joined the Dirty White Boys?

         12      A.    I don't know anything about that, sir.

         13      Q.    But he never told you that, correct?          According to you?

         14      A.    He never told me specifically he joined the Dirty White

11:28:03AM15     Boys, no, sir.

         16      Q.    And in this conversation that you had with Mr. Marks, he

         17      just volunteered that he had been part of the Dirty White Boys

         18      during the period of time that ended six years earlier

         19      roughly, correct?

11:28:25AM20     A.    I don't believe specific timeframes were ever mentioned.

         21      And, honestly, I don't recall how it even came up.              We were

         22      just talking casual and he was telling me about other

         23      institutions and stuff like that.

         24                     I believe it was because of the photographs, he

11:28:38AM25     said he understood why we were needing to take the photographs
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             1   or something.

             2   Q.    Yeah.   Isn't it a fact that he told you that the only gang

             3   that he was part of was the Christian gang?

             4   A.    No, sir.

11:28:48AM   5   Q.    And you didn't see any evidence on him of this sort that

             6   the Government was looking for, correct?

             7   A.    I had no idea what the Government was looking for, sir.

             8   Q.    Government was looking for evidence that his tattoos were

             9   indicative of gang membership, correct?

11:29:07AM10     A.    But I wasn't looking for that, sir.          That's what you asked

         11      me.

         12      Q.    The Government was, is that your testimony?

         13      A.    I have no idea what they're looking for now, sir.

         14      Q.    We established earlier the photographs were taken and you

11:29:34AM15     talked to Chad Marks on August 17th, correct?

         16      A.    I believe that's correct, sir.

         17      Q.    And you spoke to AUSA Rodriguez?         Do you recall we

         18      established earlier you spoke to him, communicated with him on

         19      August 23rd?

11:29:47AM20     A.    Yes, sir.

         21      Q.    Okay. And did you speak to him on the phone about your

         22      meeting with Marks?

         23      A.    At what time, sir?

         24      Q.    On August 23rd.

11:30:04AM25     A.    I don't recall on that date if I spoke.           I have spoken to
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             1   him on the phone, but I don't recall if it was on that date.

             2   Q.    And you sent him the photos that you took of Marks,

             3   correct?

             4   A.    I don't remember if I sent them directly to him or to

11:30:18AM   5   Ms. Horikawa who was requesting them.           I can't remember who I

             6   sent them to directly, sir.

             7   Q.    Let me -- just to be clear, let me invite your attention

             8   to the Government's opposition to the motion that's pending

             9   before the Court, and which is Government -- Defense

11:30:41AM10     Exhibit A, page 2.

         11                    Do you have that, sir?

         12      A.    Yes, sir.

         13      Q.    And the second full paragraph, first sentence, "when he

         14      was incarcerated at Coleman federal prison from September 2011

11:31:00AM15     to January of 2013, Marks joined the Dirty White Boys."

         16                    Do you see that?

         17      A.    The second paragraph, sir?

         18      Q.    Second full paragraph.

         19      A.    Okay.   Yes, sir.

11:31:14AM20     Q.    Okay.   That's not what you say Marks told you, correct?

         21      A.    Not word-for-word, no, sir.

         22      Q.    Well, in fact, Marks told you the opposite, right?            Didn't

         23      he tell you that he quit the Dirty White Boys?

         24      A.    That was part of what he told me, yes, sir.

11:31:40AM25     Q.    Okay. And did you tell AUSA Rodriguez that Marks told you
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             1   that he quit the Dirty White Boys?

             2   A.    At what time?

             3   Q.    At any time.

             4   A.    Sir, yes, I did, but I don't recall if it was at this

11:31:54AM   5   time.

             6   Q.    Did you tell him before this was filed on August 23rd?

             7   A.    I don't recall, sir.

             8   Q.    Okay. You say that Marks told you that he participated in

             9   beatings at the behest of the leaders of the Dirty White Boys;

11:32:15AM10     is that correct?

         11      A.    I believe I said that Marks informed me that he was

         12      instructed to beat up homosexuals and minorities at their

         13      direction.

         14      Q.    At Coleman?

11:32:26AM15     A.    I believe it was at Coleman, yes, sir.

         16      Q.    You're an investigator?       You consider yourself an

         17      investigator?

         18      A.    That is what I am, yes, sir.

         19      Q.    Did you pull the BOP files about his tenure at the

11:32:39AM20     penitentiary in Coleman?

         21      A.    Yes, sir.

         22      Q.    You saw in there there's not a single mention of any

         23      violence on his part while he was in Coleman, correct?

         24      A.    That's correct.

11:32:49AM25     Q.    Okay. Not a single mention of any beatings, correct?
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             1   A.    That's correct.

             2   Q.    Not a single mention anywhere of affiliation with Dirty

             3   White Boys, right?

             4   A.    No, sir.

11:32:59AM   5   Q.    That's correct, right?

             6   A.    Yes, that's correct.

             7   Q.    Is Dirty White Boys a secret organization?

             8   A.    No, sir.

             9   Q.    It doesn't hide its light under a bush in the BOP,

11:33:06AM10     correct?

         11      A.    You have to clarify what you're asking.

         12      Q.    It beats people up, right?

         13      A.    Allegedly, yes, sir.

         14      Q.    It is, as far as Bureau of Prisons administrative staff is

11:33:23AM15     concerned, it's a significant problem, right?

         16      A.    I wouldn't classify it as significant, no, sir.

         17      Q.    Would you classify it as a sort of problem where there

         18      would be a mention in the inmate's file if the inmate was

         19      thought to be affiliated with the Dirty White Boys?

11:33:37AM20     A.    There might be.      There's a very thorough process we have

         21      to go through to link an inmate to a disruptive or a serious

         22      threat group.     So it may be in there, may not.          Depends how

         23      much information they have to link that inmate.

         24      Q.    There's references that can be made in the BOP files to

11:33:56AM25     suspect affiliation even before they're linked, correct?
                 Case 6:03-cr-06033-DGL Document 526 Filed 12/19/19 Page 77 of 146
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             1   A.     Yes, sir.   You can put intelligence entries or notes, yes,

             2   sir.

             3   Q.     You can write a report as an SIS technician if you receive

             4   inmate information that another inmate is in the Dirty White

11:34:11AM   5   Boys, right?

             6   A.     Yes, sir.

             7   Q.     And there's none of that in the BOP files, correct?

             8   A.     Not that I saw, sir.

             9   Q.     And you looked at the files?

11:34:19AM10     A.     Yes, sir.

         11      Q.     In fact, there's not a single disciplinary infraction of

         12      any sort on the part of Chad Marks while he was at Coleman,

         13      right?

         14      A.     I don't believe so, sir.

11:34:37AM15     Q.     You know that's the case, right?

         16      A.     I said I don't believe so, sir.

         17      Q.     You looked for it, correct?

         18      A.     I did look for it.

         19      Q.     And you didn't find one?

11:34:44AM20     A.     I don't believe I found any at Coleman.

         21      Q.     If you found one would you have brought it to the Court's

         22      attention?

         23      A.     If asked, yes, sir.

         24      Q.     Yeah.   And you didn't, correct?

11:34:52AM25     A.     I don't believe I found anything at Coleman, sir.
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             1   Q.    You don't believe it or you know that you didn't?

             2   A.    I know that I looked.       And unless I have that intelligence

             3   file directly in front of you or in front of me, I can't quote

             4   you exactly.

11:35:05AM   5   Q.    Did you receive training, sir, on how to elicit

             6   confessions from inmates?

             7   A.    Elicit confessions, sir?

             8   Q.    Yeah. Did you receive training?

             9   A.    What do you mean by "elicit confessions"?

11:35:20AM10     Q.    On how to get confessions from inmates.

         11      A.    I've received training on how to interview and obtain

         12      information from inmates, yes, sir.

         13      Q.    Did you find it surprising that an inmate who has no

         14      record of any affiliation with the Dirty White Boys after more

11:35:38AM15     than a decade in the Bureau of Prisons would admit to you in a

         16      casual conversation such an affiliation?

         17      A.    No.

         18      Q.    You didn't think that was unusual?

         19      A.    No, I didn't.

11:35:48AM20     Q.    Do you think it's unusual for someone who is looking to

         21      reduce his sentence to offer that up?

         22      A.    I had no idea he's looking to reduce his sentence, sir.

         23      Q.    AUSA Rodriguez prepared the initial draft of your

         24      declaration, correct?

11:36:02AM25     A.    I believe so.
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             1   Q.     You gave him information and he drafted the declaration,

             2   right?

             3   A.     Yes, sir.

             4   Q.     Okay. You told him that Marks may be responsible for the

11:36:14AM   5   SIM card, right?

             6   A.     At what time?    One of the --

             7   Q.     When you spoke to him about -- about the information that

             8   ended up in your declaration, you told him that Marks may be

             9   responsible for it, right?

11:36:28AM10                   MR. RODRIGUEZ: Object to the form of the question.

         11                    THE COURT: Overruled.

         12                    THE WITNESS: I talked to him on numerous occasions,

         13      sir.     I mean, I'm sure at one point I've said that, yes.

         14      BY MR. GLEESON:

11:36:38AM15     Q.     Didn't he send you a declaration that said Marks was

         16      responsible for it and you changed it to may be?

         17      A.     He sent me a declaration.       I don't recall the exact words.

         18      I told him I would go through it and make corrections as I saw

         19      fit and return it.

11:36:51AM20     Q.     Do you remember changing the language that Mr. Rodriguez

         21      put into your declaration from he was supplying and

         22      transporting Suboxone to attempting to supply Suboxone?

         23      A.     Do you have --

         24      Q.     I'm asking what your recollection is.

11:37:10AM25     A.     No, sir.    I've told you, I don't remember the exact
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             1   verbiage.     I remember he sent me one.        I corrected it, sent it

             2   back.     If you're gonna ask me exact verbiage, I need a copy of

             3   that to review.

             4   Q.    Do you remember making changes to your declaration?

11:37:24AM   5   A.    Yes, sir, I've already said I did.

             6   Q.    Okay. Are you familiar with other -- any cases in the

             7   Bureau of Prisons of inmates in the Dirty White Boys?

             8   A.    Familiar of cases?

             9   Q.    Particular individuals.

11:37:48AM10     A.    Like specific individuals?

         11      Q.    Yes.

         12      A.    No, sir.

         13      Q.    Okay. Ever have any at FMC Lexington?

         14      A.    I don't believe we have any that are actually tagged as

11:37:58AM15     Dirty White Boys right now at FMC Lexington.

         16      Q.    Yeah.   And does that effect designation if you're tagged

         17      as a Dirty White Boy?

         18      A.    What designation, sir?

         19      Q.    Let me be more direct about it.         Would it be unusual for

11:38:15AM20     someone who was thought to be a member of the Dirty White Boys

         21      to be transferred from a high security facility to a medium

         22      security facility?

         23      A.    Depends on what -- the reason for the transfer, what they

         24      needed.

11:38:28AM25     Q.    So there's no impediment to being designated to a lower
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             1   security facility if you're a member of the Dirty White Boys?

             2   A.     There's numerous factors that go into that.           In our

             3   institution we have everybody from minimum custody to high

             4   custody.    So there's a lot of factors that go into that.

11:38:48AM   5                 It's usually the CMC Department that does all those

             6   calculations on points, retainers, everything like that.

             7   Q.     Is there anything akin to like a profile of what a member

             8   of a Dirty White Boys --

             9                 MR. RODRIGUEZ: Objection.

11:39:00AM10     BY MR. GLEESON:

         11      Q.     -- is or does in the BOP?

         12                    MR. RODRIGUEZ: Objection, Judge.          This goes into an

         13      area of BOP intelligence gathering that I don't think is

         14      relevant to this hearing, and I don't think the witness should

11:39:14AM15     have to disclose in terms of what particular profiles there

         16      are.

         17                    THE COURT: I think he can answer if there is such a

         18      profile.    Maybe he doesn't have to say what it is.

         19                    THE WITNESS: There are profiles for each individual

11:39:26AM20     STG and DTG.     They're profiles like the information they use,

         21      symbols they use, practices they use, statements they follow

         22      or policies they follow for their groups.

         23      BY MR. GLEESON:

         24      Q.     Do you know what those are for the Dirty White Boys?

11:39:46AM25     A.     Specifically all of them?
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             1   Q.    Any of them.

             2   A.    I know a couple of them.        I don't know everything about

             3   the Dirty White Boys.

             4   Q.    Tell us what you know, please.

11:39:55AM   5                 MR. RODRIGUEZ: Objection.

             6                 THE COURT: Overruled.

             7                 THE WITNESS: They're a low to medium threat group.

             8   They're usually whites, don't like minorities or homosexuals.

             9   Again, their tattoos are commonly something to do with the

11:40:11AM10     institution they were at, it could be a picture or a tattoo of

         11      a prison or a guard tower, something like that.

         12      BY MR. GLEESON:

         13      Q.    Is it -- is it common for a member of the Dirty White Boys

         14      to complete thousands of hours of programming, do you know?

11:40:30AM15     A.    What do you mean by "is it common" for them?

         16      Q.    Would it be typical in your judgment as an SIS technician

         17      and investigator, would it be common in your judgment for a

         18      member of the Dirty White Boys to complete more than 1,600

         19      hours of prison programming?

11:40:47AM20     A.    In my judgment at SIS, whether an inmate is in STG or DTG,

         21      would have no bearing on whether he wanted to get an education

         22      or complete courses.

         23      Q.    And would you expect if you reviewed the file of a Dirty

         24      White Boy member to see favorable recommendations from BOP

11:41:05AM25     staff?    That's something you would expect as an investigator?
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             1   A.    There's nothing common place to expect.           An inmate can be

             2   a member of an STG and be an extremely polite and honest

             3   person inside the institution.

             4   Q.    And would you expect that a BOP corrections officer, a

11:41:23AM   5   lieutenant, would recommend a member of a Dirty White Boys --

             6   the Dirty White Boys for employment in the workforce?

             7   A.    Yes, sir.

             8   Q.    You would expect that?

             9   A.    Yes.

11:41:33AM10     Q.    And you would expect that a member of the Dirty White Boys

         11      would be a proficient and successful tutor for other inmates

         12      to pass their GED?      Is that something you would expect?

         13      A.    Is it specifically a Dirty White Boy or is this any person

         14      in an STG?

11:41:58AM15     Q.    I'm asking you as an investigator in determining whether

         16      one of the inmates is in the Dirty White Boys --

         17                    THE COURT: I think this is straying a little far

         18      afield what this officer might know or what his opinion is.

         19                    MR. GLEESON: I get it, Judge.         I'll move on.

11:42:14AM20     BY MR. GLEESON:

         21      Q.    You mentioned that Mr. Marks is suspected of supplying

         22      Suboxone, correct?

         23      A.    Yes, sir.

         24      Q.    Any specifics on that?

11:42:26AM25     A.    Nothing specific.      It was just information.
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             1   Q.     Are there any incidents in which -- I mean, just

             2   information?

             3   A.     Yes, sir.

             4   Q.     Is the information on which -- based on which you suspect

11:42:40AM   5   Mr. Marks of supplying Suboxone, does any of that information

             6   include other inmates actually being punished for the Suboxone

             7   like Moore was punished for the SIM card?

             8                 Do you understand my question?

             9   A.     No, sir.

11:42:52AM10     Q.     If we went past your statement and went down to the brass

         11      tacks of the information about Suboxone trafficking by Chad

         12      Marks, would it include any events in which other people were

         13      punished for Suboxone?

         14                    MR. RODRIGUEZ: Objection to "brass tacks."            Object

11:43:14AM15     to the form.

         16                    THE COURT: I'm sorry, Mr. Rodriguez, I didn't hear

         17      you.

         18                    MR. RODRIGUEZ: Sorry, Judge.         I object to the form

         19      and particularly the phrase "brass tacks."

11:43:22AM20                   THE COURT: Well, if the witness understands what

         21      that means.

         22                    MR. GLEESON: I'll withdraw it, Judge.

         23      BY MR. GLEESON:

         24      Q.     When it came to the SIM card, the Court got told that Chad

11:43:33AM25     Marks possessed a SIM card, correct?
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             1   A.    I wasn't here.     I assume that's what happened.

             2   Q.    I showed you the -- and the Government (sic) challenged

             3   that.    In response to that you provided a declaration,

             4   correct?

11:43:49AM   5   A.    Yes, sir.

             6   Q.    And --

             7                  MR. RODRIGUEZ: Objection.        The Government didn't

             8   challenge it.      It was the defense who challenged it, Judge.

             9                  MR. GLEESON: Defense challenged it.          Thank you,

11:43:57AM10     Mr. Rodriguez.

         11                     MR. RODRIGUEZ: You're welcome.

         12      BY MR. GLEESON:

         13      Q.    And after the challenge it was revealed that, in fact,

         14      someone else was punished for that SIM card, correct?               It was

11:44:10AM15     Moore?

         16      A.    Yes, sir.

         17      Q.    And you looked at the incident report and there's no

         18      mention of Chad Marks, correct?

         19      A.    No, sir.

11:44:18AM20     Q.    Right?     That's correct, right?

         21      A.    That is correct.

         22      Q.    Now, this Suboxone, we have no details, correct?

         23      A.    Correct.

         24      Q.    And my question for you is if we got them, would they

11:44:31AM25     include another incident report where someone else was
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             1   punished for Suboxone?

             2   A.    Are you asking me to specifically identify inmates that

             3   provide information to the SIS Department?

             4   Q.    No.   I'm asking you whether there are inmates' incident

11:44:45AM   5   reports for Suboxone trafficking that you attribute to Chad

             6   Marks where someone else was charged with it.

             7                 Do you understand the question?

             8   A.    Are you specifically asking me if there's another incident

             9   report somewhere that lists Chad Marks?

11:45:00AM10     Q.    I'm asking you whether if we pursued beyond your blanket

         11      statement that you suspect him of Suboxone and we got the

         12      details, whether the details would include an incident report

         13      like the one we have against Thomas Moore?

         14                    MR. RODRIGUEZ: Object to the form.

11:45:25AM15                   THE COURT: Overruled.

         16                    THE WITNESS: I'm still not sure what you're asking

         17      me because if you're asking if there's an incident report that

         18      reflects Chad Marks, I'm not sure.          I don't write all the

         19      incident reports in the Bureau.

11:45:39AM20                   If you're asking me if a specific inmate provided

         21      information, you're asking me to provide identification of an

         22      inmate that provides information to SIS in front of another

         23      inmate.

         24      BY MR. GLEESON:

11:45:49AM25     Q.    Has there ever been any disciplinary action against Chad
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             1   Marks based on Suboxone?

             2   A.    Not to my knowledge.

             3   Q.    And you would know, right?

             4   A.    At FMC Lexington?

11:46:00AM   5   Q.    Yes.   You would know?

             6   A.    At FMC Lexington?

             7   Q.    Correct.

             8   A.    Not at FMC Lexington.

             9   Q.    Did you check to see whether he was subjected to other

11:46:09AM10     discipline in other facilities?

         11      A.    Yes, sir.

         12      Q.    Was he for Suboxone?

         13      A.    He was part of an investigation in another institution.           I

         14      can't recall --

11:46:15AM15     Q.    My question was whether he was --

         16                    MR. RODRIGUEZ: Judge, I object.          The witness should

         17      be allowed to answer the question without being interrupted.

         18      He had not finished the answer.

         19                    THE COURT: All right. Had you finished your answer?

11:46:28AM20                   THE WITNESS: Almost, sir.

         21                    THE COURT: Go right ahead.

         22                    THE WITNESS: When I reviewed his files, yes, he had

         23      been under investigation for Suboxone.           I don't recall if he

         24      had been charged with it or disciplined for it.             I know

11:46:40AM25     there's an investigative file regarding him and Suboxone.
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             1   BY MR. GLEESON:

             2   Q.    If you had -- if you had learned that he was disciplined

             3   for distributing Suboxone, would you recall that?

             4   A.    Possibly.

11:46:53AM   5   Q.    The testimony you gave with regard to Chad Marks and

             6   receiving money for providing legal services, do you recall

             7   that testimony?

             8   A.    Yes, sir.

             9   Q.    Did you ever speak to Lieutenant Fowler about Marks

11:47:15AM10     providing legal assistance to other inmates?

         11      A.    I can't remember specifically, but probably.

         12      Q.    Isn't it a fact that Marks told Fowler he was doing that?

         13      A.    I have no idea, sir.

         14      Q.    Isn't it a fact he told Fowler that he was providing legal

11:47:29AM15     assistance and on some occasions he received money for it?

         16      A.    I just stated, sir, I have no idea.

         17      Q.    Now, did you ask Mr. Fowler that?

         18      A.    I don't recall that.

         19      Q.    Did you ask other SIS people that?

11:47:41AM20     A.    Did I ask them what, sir?

         21      Q.    Whether or not Marks told them that he was providing legal

         22      assistance to other inmates and receiving money for it?

         23      A.    No, I've never asked him that.

         24      Q.    Okay. Did you ask the other people what information was

11:47:55AM25     provided in early August?
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             1   A.    Originally.

             2   Q.    About Mr. Marks?

             3   A.    I've already told you I had no idea what was asked.           So of

             4   course I didn't.

11:48:05AM   5   Q.    I'm almost finished, Judge, you'll be happy to hear.

             6                 Did you -- have you interviewed Marks at all about

             7   this allegation of conducting a business?

             8   A.    I don't believe I have.

             9   Q.    Have you ever written him up for it?

11:48:35AM10     A.    No.

         11      Q.    Haven't filed an incident report?

         12      A.    No.

         13      Q.    Okay. Did you look at Chad Marks' PSR?           Did you read his

         14      presentence report?

11:49:02AM15     A.    Is it the same thing we call a PSI?

         16      Q.    Yes, presentence investigative report.

         17      A.    I don't believe I ever pulled his PSI.

         18      Q.    Okay. And the information that is provided to SIS

         19      officers -- I'll withdraw that.

11:49:23AM20                   One thing I want to be clear before I finish, sir,

         21      the testimony you provided here and the declaration you

         22      provided here is that Chad Marks said to you he was once a

         23      member of the Dirty White Boys, correct?

         24      A.    Correct.

11:49:43AM25     Q.    And the testimony you provided here is that Chad Marks is
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             1   suspected of having tried to possess a SIM card, correct?

             2   A.    Correct.

             3   Q.    If one were to -- so if one were to look in the Bureau of

             4   Prisons files, would you find any reference to either of those

11:50:09AM   5   assertions on your part?

             6   A.    From myself?

             7   Q.    From anyone.

             8   A.    If you go through the entire Bureau of Prisons files, I

             9   don't know, sir.      If you go through my files you won't find

11:50:20AM10     anything.

         11      Q.    You wouldn't find anything about the SIM card and Chad

         12      Marks, correct?

         13      A.    No, sir.

         14      Q.    And you wouldn't find anything about Dirty White Boys and

11:50:29AM15     Chad Marks, correct?

         16      A.    Other than the statements that have been provided to the

         17      Court, no, sir.

         18      Q.    Yeah.   And you regard being affiliated with the Dirty

         19      White Boys as a security concern within the Bureau of Prisons?

11:50:43AM20     A.    They would fall under the STGs, sir, not the DTGs as I

         21      stated.

         22      Q.    Is that different for people who are presently members

         23      as --

         24                    THE COURT: I didn't hear the answer.

11:50:55AM25                   THE WITNESS:      They would fall under the STGs, Your
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             1   Honor.    There's serious threat groups and then there's

             2   disruptive groups.      He keeps saying disruptive groups, which

             3   are extremely violent groups of inmates.

             4                 THE COURT: Dirty White Boys is something less than

11:51:06AM   5   that?

             6                 THE WITNESS: They would fall under STGs, Your

             7   Honor, a lower category, yes, sir.

             8                 THE COURT: S-D?

             9                 THE WITNESS: STG, serious threat group.               Okay.

11:51:18AM10     BY MR. GLEESON:

         11      Q.    And is someone considered to be part of the serious threat

         12      group if they're a former member of one of those groups?

         13      A.    If they are a current member, former member, associate,

         14      affiliate, yes, sir.

11:51:31AM15     Q.    Did you do anything within the Bureau of Prisons -- not in

         16      this court, not in your declaration -- did you do anything

         17      within the Bureau of Prisons to document Chad Marks'

         18      membership in a serious threat group?

         19      A.    "Document" his membership?        What do you mean, sir?

11:51:47AM20     Q.    Did you do anything within the Bureau of Prisons -- fill

         21      out any forms, take any action -- based on your assertion that

         22      Chad Marks is a former member of a serious threat group?

         23      A.    The only thing I did was respond to the Court, provide the

         24      information that was given.

11:52:02AM25     Q.    You filled out no paperwork within the institution,
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             1   correct?

             2   A.    No, sir.

             3                 MR. GLEESON: Thank you.        I have nothing further.

             4                    THE COURT: Keep in mind repetitive examination is

11:52:22AM   5   not appreciated.      We covered a lot of the waterfront here and

             6   I think I get it.      So, please, something that needs to be

             7   done, not...

             8                             REDIRECT EXAMINATION

             9   BY MR. RODRIGUEZ:

11:52:40AM10     Q.    I want to go back to your declaration that you signed,

         11      Mr. Wascher.

         12      A.    Yes, sir.

         13      Q.    Mr. Gleeson pointed out that I sent you a draft; is that

         14      correct?

11:52:52AM15     A.    Yes, sir.

         16      Q.    And that you made corrections -- and that you made

         17      corrections to it and let me know, and then I sent you a

         18      revised version; is that correct?

         19      A.    That is correct, sir.

11:53:07AM20     Q.    Is the version that you signed -- is the version -- is the

         21      version of the declaration that you signed accurate in terms

         22      of what you believe to be true?

         23      A.    That is correct, sir.

         24      Q.    It was the version that you ultimately approved, including

11:53:25AM25     your changes, correct?
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             1   A.    That is correct, sir.

             2   Q.    Have I ever shown you a copy of my legal memoranda to the

             3   Court in this case?

             4   A.    No, sir.

11:53:33AM   5   Q.    You indicated earlier, I think when Mr. Gleeson was asking

             6   you questions, that the Dirty White Boys is a group that

             7   targets gay people and minorities?

             8   A.    Typically they're pro white.        So they target homosexuals,

             9   minorities, anyone that's not white.

11:53:58AM10     Q.    Okay.   And would you say that somebody who has referred to

         11      "niggers" and "Spics" in correspondence with others might very

         12      well share those values as being pro white and anti-minority?

         13      A.    I would say they could share some of the values, yes, sir.

         14      Q.    Mr. Gleeson asked you several times whether there's any

11:54:29AM15     indication in Mr. Marks' disciplinary file that he beat people

         16      either for the White Boys or for anybody else while he was at

         17      Coleman.

         18                    Do you remember those questions?

         19      A.    Yes, sir.

11:54:40AM20     Q.    Let me ask you this: Is every time an inmate beats another

         21      inmate, is that somehow reported or reflected in the

         22      assaulting inmates's record?

         23      A.    Definitely not.

         24      Q.    Why not?

11:54:54AM25     A.    It's different inside a prison than it is outside a
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             1   prison.    Inside a prison inmates don't want us involved in

             2   their business.      Probably nine out of ten fights or assaults

             3   happen in prison we have no idea they happen.            The inmates

             4   don't want to report it for fear of retaliation or they don't

11:55:11AM   5   want us getting involved in their business.

             6   Q.    Prior to your meeting with Chad Marks to take the photo of

             7   the tattoo, had anybody talked to you about asking him about

             8   the Dirty White Boys?

             9   A.    No, sir.

11:55:38AM10     Q.    Did you have in mind that when he came in to meet with you

         11      to take photographs that you would ask him about the Dirty

         12      White Boys?

         13      A.    No, sir.

         14      Q.    Who initiated the entire subject of the Dirty White Boys?

11:55:52AM15     A.    Chad Marks.

         16      Q.    I think you indicated in connection with -- in response to

         17      Mr. Gleeson's last few questions that FMC Lexington is not the

         18      only facility where information about Chad Marks distributing

         19      Suboxone exists; is that correct?

11:56:27AM20     A.    That's correct, sir.

         21      Q.    And where did the information about the leaders of the

         22      Dirty White Boys gang directing Marks to beat up people, beat

         23      up minorities and gay people come from?           From whom?

         24      A.    From Chad Marks, sir.

11:57:27AM25     Q.    And last question, Judge, I think Mr. Gleeson asked you
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             1   whether you would expect a member of a gang to take -- I think

             2   he said 1,600 hours of classes.         Does the fact that an inmate

             3   takes 1,600 or more hours of classes have anything to do with

             4   whether he's violent or whether he's a member of a gang?

11:58:19AM   5   A.    No, sir.

             6   Q.    Does it have anything to do with whether he will be

             7   dangerous if he is released?

             8   A.    No, sir.

             9                 MR. RODRIGUEZ: Thank you, Judge.          Thank you,

11:58:30AM10     Mr. Wascher.     Appreciate it.

         11                    THE COURT: Anything else of Mr. Wascher?

         12                    MR. GLEESON: Not from us.         Thank you, Judge.

         13                    THE COURT: All right, thank you, sir.

         14                    THE WITNESS: Thank you, Your Honor.

11:58:41AM15                   THE COURT: You are excused, you may step down.

         16                    (WHEREUPON, the witness was excused).

         17                    THE COURT: That conclude the Government's proof on

         18      the matters?

         19                    MR. RODRIGUEZ: Yes, Judge.

11:59:08AM20                   THE COURT: I'm sorry?

         21                    MR. RODRIGUEZ: I'm sorry, Judge.          Yes, it does with

         22      respect to the issues in this.

         23                    THE COURT: Okay.       Mr. Gleeson, you have a witness?

         24                    MR. GLEESON: Judge, can we have a moment to discuss

11:59:20AM25     it?   Can we take a break?
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             1                 THE COURT: Yeah.

             2                 MR. GLEESON: Give us a few minutes to discuss

             3   whether or not --

             4                 THE COURT: Certainly can do that.          We can also

11:59:29AM   5   break for lunch.      I just envision the questioning might be --

             6   I can never guess from attorneys how long the questioning will

             7   be, but --

             8                 MR. GLEESON: Your call, Judge.          We could use the

             9   lunch hour to make a decision as to what the contours of the

11:59:47AM10     case will be, if any.

         11                    THE COURT: All right.        Well, I've got a full

         12      afternoon, but I think this will take precedence.             We can move

         13      some other things, I think, or do them in night court here.

         14      Would, like, 45 minutes be enough time to get sustenance?

12:00:04PM15                   MR. GLEESON: Plenty.       Thank you.

         16                    THE COURT: All right, why don't we come back about

         17      quarter to 2?     Quarter to 1.      All right, 12:45.      All right,

         18      thank you.

         19                    MR. GLEESON: Judge, can I ask a question --

12:00:23PM20                   THE COURT: You can ask.

         21                    MR. GLEESON: -- about procedure?          You may recall

         22      from the last time we were here we asked for an opportunity to

         23      speak to the Court briefly at the conclusion of the

         24      evidentiary presentation.

12:00:38PM25                   This is a motion to reduce sentence.           I'm going to
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             1   ask the Court to consider at that time hearing separate and

             2   apart from any testimony that may or may not be given, hearing

             3   an allocation from Mr. Marks.         Just I wanted to throw that out

             4   there so the Court can mull it over, not to surprise you.

12:00:59PM   5                 THE COURT: Well, I guess it's a little unusual

             6   request, but the motion for relief is unusual, so I think it

             7   could be part of his testimony, I guess, ask him questions

             8   and --

             9                 MR. RODRIGUEZ: That was going to be my request,

12:01:23PM10     Judge.    If he's going to say something, it should be subject

         11      to cross-examination and not simply some closing statement

         12      that his lawyer should be making.

         13                    MR. GLEESON: The reason I make the request is this

         14      is unusual, this is a motion under 3582(c)(1), but if it's

12:01:44PM15     akin to anything that you do normally, it's akin to a

         16      sentencing.

         17                    And even assuming Mr. Marks testifies, I would like

         18      him to be able to address the Court in the way that a

         19      defendant seeking leniency addresses the Court.

12:02:03PM20                   THE COURT: Yeah, a true sentencing statement of

         21      course is made and the Government doesn't cross-examine,

         22      although the Government questions about it, but --

         23                    MR. GLEESON: Right.

         24                    THE COURT: Mr. Marks can, as you say, allocute or

12:02:14PM25     make a statement if he wants, and I guess if Mr. Rodriguez
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             1   thinks he wants to cross-examine about that, I guess I'll take

             2   it question-by-question.        I mean, you can make your oral

             3   arguments as to why the relief should be granted.

             4                 MR. RODRIGUEZ: I understand that, Judge.              I'm not

12:02:32PM   5   clear where we're going.        Is the request to allow this

             6   allocution in substitution of under oath testimony subject to

             7   cross-examination?

             8                 THE COURT: No, I think there will be both.

             9                 MR. GLEESON: It's not that complicated.

12:02:47PM10                   MR. RODRIGUEZ: I do think it's complicated because

         11      if he's gonna get up and say things -- first of all, this

         12      isn't a sentencing, Judge.        It's not.     It's a motion for

         13      relief that Your Honor hasn't yet --

         14                    THE COURT: I understand that.

12:03:01PM15                   MR. RODRIGUEZ: -- granted.

         16                    THE COURT: My expectation that Mr. Marks may

         17      address some of the issues that the Government has seen fit to

         18      raise here, he'll be subject to cross-examination about that.

         19                    When we're through, I guess I don't see any harm in

12:03:15PM20     him making a pitch for an allocution as to why I should grant

         21      the relief.

         22                    MR. GLEESON: See you at 12:45.          Thank you, Judge.

         23                    THE COURT: Thank you both.

         24                    (WHEREUPON, there was a pause in the proceeding.).

12:53:48PM25                   (WHEREUPON, the defendant is present).
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             1                 THE COURT: All right, let me just -- all right,

             2   Mr. Gleeson?

             3                 MR. GLEESON: Judge, the defendant rests and I'd

             4   like to use a little bit of the time I just gave back to the

12:55:14PM   5   Court to be heard in support of our motion, and the remarks I

             6   make will address the Government's allegations of more recent

             7   wrongful activity.

             8                 THE COURT: All right, so there will be no proof

             9   from the defense ?

12:55:29PM10                   I guess both sides wish to argue today in lieu of

         11      filing any briefs, although I have several very thorough

         12      briefs, so I think we sort of agreed -- or both sides

         13      requested leave to argue today, and that's fine.

         14                    MR. RODRIGUEZ: Whatever you like.          I'm happy to

12:55:52PM15     argue today, I'm happy to submit post-hearing briefs.

         16      Whatever you prefer.

         17                    THE COURT: All right.        Well, we can argue today.

         18                    I guess, Mr. Gleeson, you want to recite first?

         19                    MR. GLEESON: Thank you, Judge.

12:56:04PM20                   THE COURT: Is it still your request that

         21      Mr. Marks -- that you, I guess, give some of your time to

         22      Mr. Marks to allocute, or not?

         23                    MR. GLEESON: Yeah, it is.         And I should have made

         24      clear before the lunch break that I don't want to allocute

12:56:22PM25     with regard to the disputed facts, about SIM cards and Dirty
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             1   White Boys.     I wanted him to speak to the Court about his

             2   rehabilitation, about what the Court has written in the past,

             3   on more than one occasion, about how extraordinary it is.

             4                  He's here.     I wanted you to hear from him.         I'm

12:56:41PM   5   going to leave that up to the Court.           But by no means did I

             6   intend to suggest I was going to offer what is quasi-testimony

             7   about events that I'll suggest have not been proven.

             8                  THE COURT: All right.       Well, as I say, this is a

             9   motion to reduce, but there are legal issues that the Court

12:57:05PM10     has to decide, which I don't think Mr. Marks has any

         11      particular expertise relative to.

         12                     MR. GLEESON: Correct.

         13                     THE COURT: I will let you get back -- that's not

         14      quite the term -- some of your time.           And rather than have you

12:57:22PM15     talk about his rehabilitation, I would let him do that.

         16      Mr. Gleeson, you may go first, then Mr. Rodriguez can.

         17                     MR. GLEESON: Judge, I'm sorry.         I interrupted the

         18      Court.

         19                     THE COURT: It happens all the time, both here and

12:57:38PM20     at home.

         21                     MR. GLEESON: Judge, this is a motion to reduce the

         22      sentence obviously under 3582(c)(1), and I'd like to take a

         23      moment to level set a bit.

         24                     The question before the Court -- and I'm not going

12:57:58PM25     to repeat my arguments with regard to your authority.                To the
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             1   extent the Court has questions on that, I'll address them.           We

             2   covered that.      Happy to address any questions, happy to brief

             3   it again if you wish.

             4                  I really want to summarize for the Court, not

12:58:13PM   5   repeat, but summarize the extraordinary and compelling reasons

             6   we respectfully suggest you should find there should be a

             7   sentence reduction.

             8                  One is the simple length of the sentence, 40 years,

             9   and as I pointed out to the Court the last time I was at this

12:58:32PM10     podium, among the factors specifically in mind when Congress

         11      enacted the -- what is now known as the Compassionate Release

         12      Statute -- was sentences of extraordinary length.

         13                     The second of the -- of the reasons we suggest this

         14      case holistically fits the description of one in which there

12:58:57PM15     are extraordinary and compelling reasons to reduce the

         16      sentence is the reason for the extraordinary length, which

         17      despite all the hyperbole in the Government's opposing brief,

         18      really had everything to do with -- well, 20 years of it had

         19      to do with the exercise of the right to jury trial.

12:59:19PM20                    As this Court knows, most of the conduct on which

         21      the Government relied and is arguing that Mr. Marks is a

         22      danger is conduct of which the Government was aware when it

         23      offered him a 20 year plea bargain, which if accepted by

         24      Mr. Marks would have had him out in 2020.

12:59:40PM25                    It was the superseding to add the 924(c) counts was
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             1   done only after he decided not to plead guilty.             So that --

             2   and I'm not gonna burden the Court with the contemporary

             3   discussion about the trial penalty and the way there's a

             4   diminution in the percentage of trials, but long and short of

01:00:00PM   5   it is the extraordinary length of this sentence is due in

             6   substantial part to the imposition of a trial penalty.

             7                  The third of the circumstances that contribute to

             8   this case presenting extraordinary and compelling reasons is

             9   the rehabilitation, and I recognize there's kind of a sliding

01:00:25PM10     scale here.

         11                     And to the extent I'm going -- you're going to

         12      permit my client to address that, I will truncate my remarks

         13      about it, except to reiterate that as this Court has already

         14      expressed, this is the sort of programming and contribution to

01:00:45PM15     prison life and to others in prison life that you can go a

         16      long time in your position and in our position and never see,

         17      but I'll let Mr. Marks address that.

         18                     THE COURT: The statute suggests that rehabilitation

         19      alone -- I underscore alone -- is not sufficient to warrant

01:01:08PM20     relief.    I guess on a sliding scale, does the Court consider,

         21      you know, 50%?      80%?   Or it's not able to be quantified?

         22                     MR. GLEESON: I don't -- I would imagine that in

         23      different cases it would -- it would have different weight in

         24      the calculus.      We acknowledge the fact -- we can afford to

01:01:35PM25     acknowledge the fact that rehabilitation alone cannot sustain,
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             1   cannot support a reduction in the sentence.

             2                  But it seems to me, Judge, in light of the

             3   extraordinary length and the reason for the length, that you

             4   can certainly -- as the Urkevich court did, you can certainly

01:02:01PM   5   consider that.      And I don't see there's any artificial or --

             6   in terms of the exercise of your discretion, any particular

             7   constraint you should impose and the degree to which it should

             8   influence your decision.

             9                  It can't support your decision alone.           We get that.

01:02:18PM10     But it is kind of out of the ballpark type rehabilitation in

         11      this case.

         12                     I want to address now in this context the

         13      Government allegations.        And there's a pattern here, you know,

         14      the pattern is a -- kind of a relentless search for

01:02:41PM15     additional, obviously a very deep-seated animosity towards the

         16      defendant by the Government.         It's not often you can hear an

         17      AUSA say in a courtroom, well, I don't think he's Satan, but I

         18      think he's evil.      That's, you know, I don't think the

         19      Government has covered itself with professional glory here.

01:03:04PM20                    And I want to address specifically these

         21      allegations that have been made -- that were made after we

         22      filed on July 26th our motion.

         23                     The first thing I want to point out for the Court,

         24      you may not have noticed this in the examination, but a week

01:03:24PM25     after the motion was filed the Government reached out for SIS
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             1   at FMC Lexington and asked for information about Chad Marks.

             2   That happened on August 2nd.

             3                  And Richard Stump, one of the -- one of the SIS

             4   technicians -- who was then one of the witness' colleagues,

01:03:51PM   5   responded to that on August 5th, provided the information.

             6   You heard nothing about that on direct.

             7                  And we've tried to get the substance of that

             8   communication.      We were told we would get the communications

             9   from Mr. Wascher, but not from the folks and the lawyers that

01:04:11PM10     are in Regional.      That's where Ms. Horikawa is.

         11                     I'm going to suggest to the Court that the only

         12      inference you can draw from that is the first effort to obtain

         13      some useful information against Chad Marks fell flat.

         14                     You should also infer from this evidence that the

01:04:30PM15     Assistant U.S. Attorney didn't want to take no for an answer.

         16      The evidence shows you a foraging around on social media and

         17      the discovery of that photograph you saw in the

         18      cross-examination of Mr. Wascher, a photograph of Chad Marks

         19      in a T-shirt that had looked like at the bottom of it a tattoo

01:04:56PM20     that was otherwise obscured by the T-shirt the word Pride on

         21      it.

         22                     And that occasioned by the AUSA of another mission

         23      to FMC Lexington take a look at that tattoo, see what that

         24      tattoo is about.      And that in turn produced the February 21 --

01:05:22PM25     excuse me, the August 21st interaction between Wascher and the
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             1   defendant.

             2                  Before -- I'm going to come back to that in minute,

             3   but I really want the Court in its determination as to whether

             4   the Government, separate and apart from the significance of

01:05:39PM   5   these allegations, if proved, and I stood before you the last

             6   time I was here and said if you find they're proved, I'm going

             7   to argue to you that they're not relevant to your

             8   determination about a reduction in sentence.

             9                  But I'm going to ask the Court to consider very

01:05:57PM10     carefully in determining, and I know you will, whether or not

         11      the Government has proved this allegation of more recent

         12      criminal activity on the evidence before you with regard to

         13      the SIM cards.

         14                     The other pattern that develops as we get a shot

01:06:18PM15     across the bow of adverse information about Chad Marks and

         16      then upon further scrutiny, it just isn't there.              I remember

         17      so vividly when I was an AUSA standing in Leo Glasser's

         18      courtroom, him telling me and other AUSAs, you know, the

         19      Government -- I never quite fully understood this -- the

01:06:36PM20     Government has to be as pure as Caesar's wife, probably an

         21      expression that wouldn't properly be used now.

         22                     I got it then.      I knew what it meant.       The

         23      Government has to turn square corners.           It's got a burden of

         24      proof.    It has to turn square corners.

01:06:52PM25                    You got told in the Government's opposition
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             1   brief -- you got told that because there was suspicion that

             2   Chad Marks was trying to obtain a SIM card, that there was a

             3   search conducted of his cell and a SIM card was -- a container

             4   was retrieved from Chad Marks' Bible.           And both of those were

01:07:19PM   5   dead wrong.

             6                  I respectfully urge this Court to find based on the

             7   testimony here today and based on this incident report that is

             8   Government Exhibit 1, it just says flat out that Wascher was

             9   conducting random cell searches in the Bluegrass Unit.

01:07:40PM10                    And, Judge, if you read further in this description

         11      of the search and of the interview of Moore, and of course

         12      read the fact that this is a write up of Moore, you will find,

         13      I respectfully suggest, that that search had literally nothing

         14      to do with any allegation against Chad Marks.             There's no

01:08:04PM15     reason that wouldn't have been in here.

         16                     And, of course, the search did not retrieve a Bible

         17      of Chad Marks.      And you were not told -- I'll suggest the

         18      Court ought to ask itself, you know, why wasn't I told someone

         19      else was written up for this ? Why wasn't I told the search,

01:08:23PM20     according to BOP paperwork, was conducted for a different

         21      reason and not for the reason advanced by the Government?              Why

         22      wasn't I told that the very same person who was brought in

         23      here as a witness became -- authored the report based on which

         24      Thomas Moore was sent to the SHU?

01:08:43PM25                    That's information that the Court should have been
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             1   apprised of and you were not apprised of it.             Only when we

             2   went beyond -- of course, we asked AUSA Rodriguez for the

             3   paperwork.     He said no.     Only when we got it and went beyond

             4   it was there some more light shed on this SIM card incident.

01:09:09PM   5                  There is nothing anywhere.        We know that the SIS

             6   keeps files.      It keeps files of what it considers to be

             7   significant inmate information about contraband and other

             8   criminal activity.

             9                  The only place anybody could ever find a Government

01:09:27PM10     writing about Chad Marks allegedly attempting to possess a SIM

         11      card is in this court.        It's nowhere in the BOP files.

         12                     The -- turning to the Dirty White Boy allegation,

         13      again, this -- the -- this all arises out of a tattoo

         14      inspection requested by AUSA Rodriguez at the time -- he

01:10:01PM15     testified otherwise, but at the time, and you can see this

         16      from page 35 of our Defense Exhibit B, I believe you can see

         17      that, of course, Wascher was aware of the fact that Chad Marks

         18      was seeking a sentence reduction.          He knew what his mission

         19      was.

01:10:22PM20                    His mission was to find dirt for the Government to

         21      use.    And he looks at the tattoo in question, which is an

         22      Irish Pride tattoo.       The other photos in here reveals an

         23      Erin go Braugh is a pattern that develops.            He's an Irish guy.

         24      He's an Irish guy with Irish tattoos.

01:10:42PM25                    And this witness is so bent on helping the
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             1   Government that he can't even bring himself to say that he's

             2   not sure whether the Irish Pride tattoo doesn't reflect an

             3   affiliation with the Dirty White Boys.

             4                  Also, Judge, I'm going to suggest to you little

01:11:02PM   5   details matter.      He was given a specific mission.          He was told

             6   to look at the tattoo in question.          Tattoo in question was on

             7   his left -- is on my client's left arm.            You don't need to

             8   strip search someone to look at the tattoo in question.

             9                  This Wascher -- the previous inquiry to the SIS

01:11:24PM10     folks at FMC Lexington produced a dry well for AUSA Rodriguez,

         11      but when the person performing the mission was this Wascher,

         12      Wascher was a gold mine.        All of a sudden a SIM card violation

         13      that was -- someone else was punished for and written up for

         14      became our client's.       All of a sudden the specific tattoo

01:11:50PM15     inspection that was directed becomes a strip search.

         16                     All of that proves negative.         He doesn't find a

         17      tattoo of an FCI up there like the Dirty White Boys.                 He

         18      doesn't find anything.

         19                     But lo' and behold, lo' and behold, in casual

01:12:07PM20     conversation he says       my client just offers up that he

         21      committed assaults many years earlier between September of

         22      2011 and January of 2013 in Coleman at the behest of the --

         23      the bosses of the Dirty White Boys, and he quit the Dirty

         24      White Boys that year.

01:12:31PM25                    In re: You should expect more of the Government.
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             1   Let me suggest to you that one of the questions you should be

             2   asking is why when Wascher allegedly hears my client say that

             3   he quit the Dirty White Boys between 2011 and 2013, why you

             4   get told in the Government reply, Government opposition to our

01:12:52PM   5   motion that's when he joined it?

             6                  These are the sorts of things of which -- that

             7   reflect conduct that you should expect of the Government that

             8   you did not get in this case.

             9                  And so here we have an SIS investigator, a

01:13:08PM10     technician at FMC Lexington who claims that my client

         11      volunteers that he was affiliated with this dangerous group.

         12                     He says himself that the fact that you were

         13      formerly affiliated with a dangerous group doesn't alter the

         14      obligation within the facility to take action about that.

01:13:31PM15                    But he does nothing.       There's nothing in August in

         16      terms of BOP paperwork, there's nothing in terms of separation

         17      orders, there's nothing, there's no write up.             There's

         18      nothing.

         19                     It's only in this courtroom that one person in the

01:13:48PM20     Bureau of Prisons makes the suggestion that Chad Marks used to

         21      be affiliated with the Dirty White Boys.            It's an utterly

         22      implausible confession.        If it were made, it would have

         23      produced and should have produced -- this witness' own

         24      testimony tells you it should have produced action within the

01:14:08PM25     Bureau of Prisons, but it didn't.
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             1                  And we get as of a week ago, we get a message from

             2   AUSA Martinez (sic) there's no -- there's nothing in the

             3   Bureau of Prisons that suggests any affiliation in the Bureau

             4   of Prisons paperwork by -- on Chad Marks' part with the Dirty

01:14:27PM   5   White Boys.

             6                  So the notion that he was is unsupported by any

             7   documentation that this Court has a reason to expect would

             8   exist.

             9                  And then lastly, and I told you this last time I

01:14:45PM10     was here and I meant it when I said it, I suggest this Court

         11      should not have an evidentiary hearing on this because if you

         12      did, you would conclude that the Government can't prove this

         13      by any standard, even by a preponderance standard.

         14                     But I would also argue to you that the -- if it

01:15:05PM15     proved it, now we know the Government's allegation is not that

         16      he joined it, now the allegation is that he quit it -- that

         17      it's not a public safety factor.          It's kind of a lower level

         18      affiliation.

         19                     It's not even one of significant magnitude that

01:15:21PM20     there's any record of it in the Bureau of Prisons.              And it's

         21      long in the past, and in between is a period of extraordinary

         22      rehabilitation.

         23                     And I suggested to this Court that should you find

         24      any concern, should you even find these facts have been

01:15:37PM25     proved, the proper approach to that is an association
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             1   restriction imposed upon my client when he is serving his

             2   eight years of supervised release.

             3                  One other thing, Judge, and, you know, again as I

             4   say, the pattern is outrageous.          Really hyperbolic

01:16:01PM   5   allegations.      I urge you, once again, to read that missive of

             6   the Government's on August 23rd.          When I read it I thought

             7   holy cow, this is pretty wild, this is pretty bad stuff.

             8                  And then you look at it and you scrutinize it and

             9   you get the incident report and you get the testimony and you

01:16:19PM10     see, well, he was actually told something different and there

         11      are plenty of facts that undermine the credibility of it.

         12                     So once you get past that superficial allegation,

         13      it doesn't -- it doesn't hang together.            The whole SIM card

         14      thing does not hang together.         The admission about the Dirty

01:16:37PM15     White Boys doesn't hang together.

         16                     And then, you know, you also got some over the top

         17      language about rapist and torturer and murderer.              You know, we

         18      got over the transom last night some -- a whole pile of stuff

         19      about the defendant's conduct in Batavia before the trial.

01:16:59PM20                    And I don't want to make too much of this.            I'm

         21      going to say it fits the pattern.          We got it last night.       You

         22      look at it, it doesn't bear out what the Government said.

         23                     The Government said he had three assaults.            Well,

         24      there's actually two assaults and one fighting.

01:17:14PM25                    There are 23 incidents.        You know, we get this --
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             1   as I said, we got this over the transom last night -- in a

             2   colloquial way.      We got it over the e-mail last night 23

             3   incidents.     More than half of them either no disciplinary

             4   action or he was not convicted.

01:17:32PM   5                  I noticed last week the Court got kind of a

             6   discovery request.       There is what I'll suggest is kind of this

             7   frantic effort to characterize the Chad Marks that sits there

             8   today to do anything really that in a way -- to characterize

             9   the Chad Marks who sits there today, 17 years after he was

01:18:01PM10     first incarcerated on this case, as the street punk that you

         11      described.     I'm sorry I keep saying that, but that you once

         12      described.

         13                     And, you know, you get -- and you saw it with

         14      Wascher.     Well, he's arrogant.       Well, okay, fine.      He's not

01:18:22PM15     the most docile inmate Wascher had to deal with.              Not the most

         16      docile person that this AUSA has provoked in his career.

         17                     But so what?     That's not a prerequisite for

         18      extraordinary and compelling circumstances.             And it certainly

         19      is not a reason to guess that he must have coerced Thomas

01:18:43PM20     Moore to take the fall for that SIM card.            That's not what you

         21      should expect of a Government investigator.

         22                     And the results of it and the way the results of it

         23      were cast to this Court are not what you should expect of an

         24      AUSA.    You should expect more.

01:19:01PM25                    And I'm going to -- just to finish up on the
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             1   belatedly relied upon alleged criminal activity.              It has not

             2   been proven.      This Court should conclude it has not been

             3   proven.

             4                  If you conclude that it has, I suggest to you that

01:19:19PM   5   in the entire mix of facts this Court has before it in terms

             6   of whether they're extraordinary and compelling reasons, it

             7   doesn't warrant in any respect a diminution in the appropriate

             8   reduction of sentence that this Court should effect based on

             9   our motion.

01:19:35PM10                    I know the Court has more facts before it.            I'm not

         11      gonna -- I'm not gonna, you know, bring up -- I'm gonna -- I

         12      know you're gonna make a decision today based on the facts as

         13      you heard them, the arguments as you heard them, but I'm sure

         14      you're mindful as we are that you told the Assistant U.S.

01:19:56PM15     Attorney that if you were to have imposed a 15 year sentence,

         16      had you been able to, Judge, or at least based on what you

         17      knew at the time you wrote that letter, we respectfully

         18      suggest to the Court that its wisdom in reaching that

         19      conclusion after being apprised of the rehabilitation of Chad

01:20:16PM20     Marks was spot on.

         21                     And the last thing I'm gonna say before I sit down

         22      is this : I also think what you're seeing here in this

         23      courtroom, honestly -- honest to goodness, separate and apart

         24      from the discrete facts of this case -- I think you're seeing

01:20:34PM25     the natural institutional response to Congress returning a
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             1   little bit of power to judge -- back to judges.

             2                  There is -- there is really no justification for,

             3   in my mind, I'll suggest to you, there is no reasonable

             4   justification for this conduct by the Government when really

01:21:04PM   5   what's at issue is this Court's been afforded the opportunity

             6   to take a second look in only a very narrow slice of cases,

             7   ones presenting extraordinary and compelling reasons, and to

             8   blunt what is, I think by any reasonable person's measure, an

             9   accessibly harsh sentence.

01:21:26PM10                    And there's really, I'll suggest, no legitimate

         11      reason for the virulence, for the unscrupulousness -- I'll say

         12      that -- of this push back.         I suggest that respectfully.

         13                     Thank you, Judge.

         14                     THE COURT: Before you sit down, let me ask at least

01:21:44PM15     one question here.       I think the Government has already

         16      addressed this in its -- perhaps both of its filings, but the

         17      question relates to Congress' decision not to make the

         18      stacking provision retroactive.          The stacking is what caused

         19      the onerous sentence that Mr. Marks faces, five years plus 25

01:22:12PM20     years.

         21                     The Government suggests that really precludes the

         22      Court from granting the relief here.           That if Congress

         23      intended some retroactive effect, they could have said so.

         24                     Another argument could be made that just because

01:22:41PM25     Congress elected not to make the stacking provisions under
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             1   924(c) retroactive, that doesn't speak to the discretion the

             2   Court has under the statute on which you move.             That the Court

             3   could still consider the seachange in the law now that

             4   stacking is no longer appropriate.

01:23:15PM   5                  Not unexpectedly, the Government suggests that

             6   Congress really has already spoken on this, Judge, but how

             7   would you -- what would you like to be heard to say about

             8   this?

             9                  The Court's going to have to deal with it, the fact

01:23:31PM10     that Mr. Marks does not automatically get the benefit of the

         11      anti-stacking provisions.        If he did, we wouldn't be here.

         12                     So, you know, how much should the Court consider

         13      the congressional action to change the stacking in deciding

         14      your motion?

01:23:52PM15                    MR. GLEESON: I suggest here's how the Court should

         16      consider it: If Congress had made the -- we'll call it the

         17      anti-stacking part of the First Step Act retroactive, every

         18      single 924(c) in the U.S. -- in the prison system would have

         19      presumptively an application to go back before the sentencing

01:24:19PM20     court.

         21                     As all of the Fair Sentencing Act folks -- Fair

         22      Sentencing Act provisions were made retroactive -- sorry.

         23                     THE COURT: That they have done that.

         24                     MR. GLEESON: Yes, they come back.          They would

01:24:35PM25     presumptively have an application.          It's not automatic as the
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             1   Court knows.

             2                  Congress didn't do that.        We acknowledge that.   At

             3   the same time there's an existing statute 3582(c)(1) that

             4   Congress amended to allow inmates to come back directly to

01:24:57PM   5   their sentencing judge and to make an application for a

             6   reduction of sentence based on extraordinary and compelling

             7   reasons.

             8                  There are obviously other bases set forth in that

             9   statute, but we're relying on extraordinary and compelling

01:25:14PM10     reasons.

         11                     And neither at the time nor now is there any reason

         12      based on the text of that statute for this Court to conclude

         13      that someone who is serving stacked 924(c) sentences is

         14      ineligible for that avenue of relief.

01:25:37PM15                    As I mentioned to you the last time I was here, you

         16      would think the Government's argument that this Court's

         17      precluded from considering this ground of sentence reduction,

         18      you would think the Government's argument, you would look at

         19      3582(c)(1) and you would say there's an exception here for

01:25:59PM20     924(c) stacking.      There's none.

         21                     Congress was aware of the bases of relief under

         22      3582(c)(1).     They include extraordinary and compelling

         23      circumstances.      Every single inmate can make such an

         24      application.      It was aware that there was a BOP gatekeeper

01:26:20PM25     provision that wasn't working.          They never opened the gate.
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             1                  So it said we're taking BOP out of the way, the

             2   inmates can come in directly.         And they did not say, by the

             3   way, all inmates except 924(c) stacking victims can come to

             4   the Judge Larimers in our system.          And they could have said

01:26:43PM   5   that.    They didn't.     Text is text.

             6                  THE COURT: Maybe Congress passing that expansion of

             7   3582(c) knew that another statute under the First Step Act,

             8   the anti-stacking provision, provided that there would be no

             9   retroactive effect.       One could argue that Congress didn't need

01:27:10PM10     to add any prohibition under 3582(c).

         11                     I mean, I'm not -- I'm just being the devil's

         12      advocate here.

         13                     MR. GLEESON: Understood.        And to finish my thought

         14      about how you should view it, the -- I'll suggest to the Court

01:27:28PM15     it's perfectly logical to suggest that Congress decided not to

         16      presumptively -- not to provide a presumptive motion to every

         17      924(c) stacking inmate.

         18                     But, rather, decided that if relief was gonna be

         19      afforded to such an inmate, any such inmate, it would only be

01:27:51PM20     in the very narrow slice of the inmate population whose

         21      circumstances viewed holistically present extraordinary and

         22      compelling reasons.

         23                     And there is -- I say this respectfully, there is

         24      no reason for you to read into -- read a limitation into

01:28:11PM25     3582(c)(1) that is not there.         That is, to imply from the fact
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             1   that -- that the anti-stacking provision was not made

             2   retroactive, to imply that in the amended 3582(c)(1), that

             3   means there is an implied exception for 924(c) stacking

             4   victims.

01:28:36PM   5                  The result of the legislative enactments that I

             6   described to the Court is a legislative determination that a

             7   very narrow slice of the inmates in the Bureau of Prisons who

             8   are subjected to 924(c) stacking will have an application to

             9   go back to the District Court and present extraordinary and

01:29:01PM10     compelling reasons, only one of which would be that he was

         11      subject to a sentencing regime that was so onerous that

         12      Congress decided no one else would be subjected to it.

         13                     It would be kind of ironic, I suggest to the Court,

         14      that -- think about it this way.          Think of the irony of this.

01:29:24PM15     These are bone crushing sentences.          They're really harsh.

         16      It's not a shrinking violent Congress that passed that

         17      statute, and not a shrinking violent President that signed

         18      it -- signed it into law.

         19                     They decided these provisions are so bad, that no

01:29:45PM20     one will ever be subjected to them again.            Think of the irony

         21      associated with the fact that when they open up an avenue of

         22      safety valve relief the way they did by taking BOP out, BOP

         23      motion requirement out of 3582(c)(1), right?

         24                     They -- they open up an avenue to this Court, think

01:30:12PM25     of the irony that you're gonna -- that the Government wants
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             1   you to imply into that a limitation, and this is the only

             2   exception near as I can tell the Government's arguing, they're

             3   gonna open up for a second look for sentencing judges to look

             4   at extraordinary and compelling circumstances.

01:30:35PM   5                  Think of the irony associated with except there's

             6   this one category of folks who got really clobbered by

             7   sentences we think are so excessive that nobody will ever get

             8   them again, but they can't come in.

             9                  Judge, I'm gonna suggest to you that makes no

01:30:50PM10     sense.    Not only that, it's completely -- text as I keep

         11      saying this, text is text.

         12                     One irony of this is the whole reason 924(c)

         13      stacking happened wasn't because Congress intended it.               It was

         14      because the Supreme Court held in that Deal case back in the

01:31:17PM15     '90's.    Text is text.      Second or successive could be in the

         16      same case as the first.        That's why we're here to begin with.

         17                     So, you know, what's sauce for the goose is sauce

         18      for the gander.      And if text is text, and that's why he got

         19      clobbered to begin with, I'm gonna suggest to you that it's

01:31:35PM20     good enough for us to say you read 924 -- 3582(c)(1) and it

         21      doesn't limit the category of inmates who can come to you to

         22      seek the sentence reduction we're seeking by excluding 924(c)

         23      victims I'll call them.

         24                     THE COURT: Thank you.

01:31:58PM25                    MR. GLEESON: Thank you.
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             1                  THE COURT: You wish Mr. Marks to address the Court?

             2                  MR. GLEESON: Yes.      Do you want him to do it now,

             3   Judge?

             4                  THE COURT: Yes.

01:32:07PM   5                  MR. GLEESON: Okay, come on up.         Come up here, is

             6   that all right?

             7                  THE COURT: All right with me.         Mr. Marks, good

             8   afternoon.

             9                  THE DEFENDANT: Good afternoon to you.

01:32:27PM10                    THE COURT: We're not discussing legal issues now.

         11      Your attorney and the Government have supplied the Court with

         12      that, but the nature of this proceeding, although it's not

         13      technically like a sentencing, it certainly relates to that.

         14                     So I'm exercising some discretion to give you a

01:32:44PM15     chance to address the Court.

         16                     THE DEFENDANT: Thank you.        I'll like to start off

         17      by saying that Psalms 21 once said the heart of the King is in

         18      the hands of the Lord.        I know that it's by your mercy, your

         19      compassion and God's grace that I'm even here today and I want

01:32:59PM20     you to know that I'm grateful.

         21                     I know that I made some irrational and

         22      irresponsible choices many years ago to engage in drug

         23      trafficking, possession of weapons.           I'm guilty.      Guilty of

         24      every one of them charges.

01:33:09PM25                    I'm not that person no more.         I'm not.    I've
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             1   learned to respect the rule of law.           I've learned a lot about

             2   the law, about our forefathers.          Life, liberty and the pursuit

             3   of happiness, it means something to me.            I respect the rule of

             4   law, Judge.     I want you to know that.

01:33:27PM   5                  There's been a lot of filings in this case so you

             6   know my history.      I never really had a father.         I looked up to

             7   my brother; my brother killed his self.            I didn't have any

             8   respect for men at all in my life.

             9                  I came to respect you, and I mean that.           And I say

01:33:45PM10     that to say this: I don't know what's gonna happen.              But I

         11      want you to know that I would never disrespect you by

         12      reoffending.      I'd never violate post-supervised release

         13      because my freedom means something.

         14                     Today's not simply about Chad Marks.           Failure is

01:34:02PM15     not an option.      To fail is to disappoint you, disappoint Judge

         16      Gleeson, Marisa Taney, Elizabeth Costello, all the people over

         17      there, Jill Harrington, Families Against Mandatory Minimums.

         18      These people believe in me.         So failure is not an option.

         19                     I came to prison with a 40 year sentence.             Tough.

01:34:18PM20     Not something easy to deal with.          But I dealt with it.        And I

         21      learned, and as I learned I knew that it wasn't just about me

         22      doing time.     I owed more than just doing time.

         23                     That's why I decided to go to the Alternative

         24      Violence Project seminar.        Then after that I started

01:34:34PM25     facilitating.      There's a brotherhood in there, we change lives
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             1   in there.     Leaders Breed Leaders taught people how to be real

             2   men, real fathers.       I didn't know what that was many years

             3   ago, but I do now.

             4                  Then I went to FMC Lexington and there was this old

01:34:50PM   5   man trying to push his self to commissary one day.              I decided

             6   to push him.      His name was Foster Davis.        He was a Vietnam

             7   vet, tunnel rat in Vietnam, won a bunch of awards.

             8                  I made a promise to come to church Friday night,

             9   which I do every week, Fridays and Sundays.             And we started

01:35:08PM10     talking.     I helped him and I kind of formed this thing I

         11      called the Wheelchair Ministry.          I got some of the other

         12      brothers to start helping people.          We start getting people

         13      from the Medical Unit, we start taking them to church, we

         14      start taking them to commissary.          We couldn't push them --

01:35:21PM15     they couldn't get themselves in places, Judge.             It mattered.

         16      It mattered.

         17                     So we started that Wheelchair Ministry.           Foster

         18      Davis, I take him outside, walk him around.             He always used to

         19      say, man, you're my buddy.         Really, he was my buddy.

01:35:34PM20                    I did his compassionate release, I did his clemency

         21      petition.     Four weeks ago he died.       But he didn't die in

         22      prison.     He didn't die alone.      He died with his family.       That

         23      was important to him.        Something I was afraid of.

         24                     And Criminal Legal News sent me out a thing, they

01:35:53PM25     wanted me to write an article about -- about Lester Holt.                 He
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             1   visited a prison in Louisiana, went to the Hospice Unit.                   And

             2   there was old man in there, been in prison 45 years.                 He asked

             3   him to open his candy for him, couldn't even open his candy.

             4                  That motivated me to go to the chaplain at FMC

01:36:11PM   5   Lexington.     I said, hey, no one is up here ministering to

             6   these guys and they're dying, I want to go up there.

             7                  The only way I could do that is if I refused to go

             8   to lunch on Saturdays.        So I did it.     I went up there.        I

             9   administered love of Christ to them guys up there.

01:36:24PM10                    And in the process I worked with them on some

         11      compassionate release motions, wrote their stuff for them,

         12      sent it off to the attorneys, I built some relationships at

         13      FAMM.    I did the work because the lawyers were overburdened.

         14      I sent that stuff down there all for free.

01:36:37PM15                    I go up there and minister guys.          A lot of them

         16      guys didn't want to hear that, Judge.           They'd been up there --

         17      they had been in prison 35, 30 years.           So I had to find a way

         18      to break in and they didn't have no money, they can't buy

         19      commissary, they can't work.

01:36:50PM20                    So I take snacks up there to them.          For some reason

         21      they all like animal crackers and that was my opening, believe

         22      it or not, animal crackers.

         23                     I just want you to know that I appreciate you.               I

         24      appreciate today.       I appreciate life.      Life means something.

01:37:06PM25     I made some bad choices.        But I want you to know -- and I mean
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             1   this -- that I'll never reoffend because I appreciate my

             2   freedom.     I would never disrespect you because I have enormous

             3   amount of respect for you.

             4                  And with that I wish you a Merry Christmas.             You

01:37:22PM   5   too... you guys have always been kind to me and I appreciate

             6   you.

             7                  THE COURT: Thank you, Mr. Marks.          Two things.

             8   Mr. Marks, I get a chance.         You know, you and I go back a long

             9   way.     I presided at the trial.       I remember many of the facts

01:37:42PM10     at the trial.      The Government has pointed many of them out in

         11      their filings.

         12                     You did say you made bad judgments.          That would be

         13      an understatement in terms of drug dealing and some violence

         14      and threats.

01:37:55PM15                    The Government suggests that there's no guarantee

         16      that you won't do that again if you're released.              Your lawyer

         17      suggests that the Court can provide some protection by

         18      imposing conditions in supervised release.

         19                      But I'd like to give you the opportunity to

01:38:20PM20     address the Government's suggestion as to that -- that, you

         21      know, a leopard can't change his skin.           You did certain things

         22      in the past and there's no guarantee that you won't do them

         23      again.

         24                     The second thing you might comment on, the

01:38:36PM25     Government suggests that, either directly or inferentially,
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             1   that the courses and all the religious activities and others

             2   that you engaged in is an effort to play the Court.              To --

             3   that it's not really -- it's done for a purpose.

             4                  Any thoughts on either of those two --

01:39:08PM   5                  THE DEFENDANT: Yeah.

             6                  THE COURT: -- points?

             7                  THE DEFENDANT: The first thing I want to say is

             8   this: I know you've been around a long time, you know when

             9   people come up here and lie to you.           I know that.     And I pray

01:39:16PM10     that you see the sincerity in me.

         11                     As far as the programs goes, I didn't have to do

         12      any of that stuff, Judge.        None of it.     I could have went to

         13      prison, stayed in Big Sandy, the most violent prison in the

         14      United States, hands down.         There ain't a state prison that

01:39:29PM15     can hold a flame to it.        I could have took that road, but I

         16      didn't.

         17                     Were there some problems?        There were some problems

         18      100%.     And I don't know if I'm allowed to speak about the

         19      factual basis, but -- as far as the fights go, if you --

01:39:44PM20                    THE COURT: No.

         21                     THE DEFENDANT: As far as reoffending, I mean this

         22      from the bottom of my heart, I respect the rule of law and I

         23      respect my freedom.       It's small things, Judge, driving here

         24      and you see houses, you see dogs.

01:39:58PM25                    FMC Lexington we see -- it's this small.              You see
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             1   horses coming by the prison, you learn to appreciate them

             2   things.    Those are the small things that you learn to

             3   appreciate.

             4                  Will I reoffend?      People can stand here and say,

01:40:10PM   5   you know, hey, we never know.          But I can tell you this: If I

             6   were released -- I told you before in a letter I think I

             7   wrote -- I'm suffering.        I am.    I'm suffering.     And I know

             8   what that suffering is like.

             9                  Reoffending for me, I mean, anyone can stand up

01:40:24PM10     here and tell you this -- I'm telling you now from the bottom

         11      of my heart, I know -- I know that I'm not gonna reoffend,

         12      Judge, because I appreciate that freedom.

         13                     I know what it's like to lose your freedom.           I know

         14      what it's like to go to bed at night hungry.             I know what's it

01:40:38PM15     like -- and I get embarrassed real easy about family stuff,

         16      but my mother's sick.        She's been sick.       By the grace of God

         17      she's still here.       I do love my mother.        Two weeks ago my mom

         18      was homeless.       So reoffending disappoints my mother.

         19                     Never gonna reoffend.       Never.    Did I do some bad

01:40:58PM20     things?    100%.     And I didn't want to comment on this because I

         21      thought you wanted Mr. Gleeson to stay away from it -- street

         22      punk, I was worse than a street punk.           100% worse than a

         23      street punk.       Thought I knew everything, thought I was smarter

         24      than everybody.

01:41:11PM25                    But you know what, Judge? You grow up, you learn.
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             1   You learn that, hey, look, that's not who you want to be.                    You

             2   go look in that mirror.        Look in that mirror every day.

             3                  I pray every day.      On my knees every day.          Because

             4   I do want to change my life.         Am I perfect?      No.     If I were

01:41:28PM   5   released, the first place I'd go today is Victory Baptist

             6   Church in Henrietta, let them know I'm here, not even going to

             7   go to my mother first.        I'm going to the church, let them know

             8   who I am.

             9                  This is what I want to do.        Because I know that I

01:41:38PM10     have to have that.       I have to be rooted there.           I have to be

         11      rooted in that church.

         12                     The next thing I'd be doing is I'd immerse myself

         13      in criminal justice reform.         I made a lot of relationships,

         14      I'm sure the Court knows, with many attorneys.                Many.

01:41:51PM15                    Sean Hopwood, dear friend of mine, law professor,

         16      former federal inmate.        Former federal inmate went on to

         17      become -- won two cases in the Supreme Court as a jailhouse

         18      lawyer.

         19                     I mean, those guys are making it.          Brandon Sample,

01:42:05PM20     post-conviction attorney.        These guys were in federal prison.

         21      They're making it.

         22                     I'm not gonna disappoint.        And you know something

         23      else?     I'm not gonna disappoint Mr. Rodriguez.             I'm not.   I

         24      want to prove -- I want an opportunity to prove to you.

01:42:20PM25                    And I can say this, and I'll close, I don't deserve
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             1   another day in there.        Maybe I should have went to prison

             2   100%, there's no doubt about that.          But there's nothing left

             3   to gain.     Wasting tax dollars.

             4                  I just -- I want you to know I mean what I say, say

01:42:39PM   5   what I mean.      Thank you.

             6                  THE COURT: Thank you.

             7                  Mr. Rodriguez, would you like to present?

             8                  MR. RODRIGUEZ: Thank you, Judge.

             9                  I'll start by pointing out the obvious, which is in

01:43:31PM10     this case, in this proceeding the defendant bears the burden.

         11                     And I think unlike a trial where you would never

         12      hold the defendant's silence against them, you would never

         13      hold his reluctance or refusal to testify under oath against

         14      him, in this case I think you should.

01:43:49PM15                    Because we talked about testimony, we talked about

         16      him getting on the stand under oath, and he didn't do it.            He

         17      stood up here and said things to you not under oath, not

         18      subject to cross-examination.         So I think Your Honor can take

         19      that into account in determining whether the defendant has

01:44:04PM20     borne its burden.

         21                     Judge, there's a lot of -- we submitted a 24 page

         22      legal memorandum arguing the law.          We stand by those

         23      arguments.     I won't repeat them.       I think the Court has

         24      reviewed them.

01:44:25PM25                    Simply to point out that we believe the First Step
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             1   Act is clear: If Congress had wanted to give the courts

             2   discretion to allow inmates out early because of the double,

             3   consecutive 924(c) sentences, it would not have specifically

             4   ruled that the change in the law with respect to consecutive

01:44:46PM   5   924(c) sentences only applies to people who are sentenced

             6   after December of 2018.

             7                  THE COURT: Well, Mr. Gleeson suggested that there's

             8   no reference in 3582(c) to any statute or any other thing that

             9   would prevent the Court from considering the seachange in the

01:45:07PM10     law.

         11                     I mean, it's obviously an issue the Court has to

         12      deal with because Congress did determine that the action be

         13      retroactive, but I think Mr. Gleeson suggests, you know, that

         14      might have resulted in many, many applications by those who

01:45:26PM15     really didn't warrant relief.

         16                     In this case maybe it is something the Court could

         17      consider.     I mean, I know your position is that the Court

         18      shouldn't and can't, but all we have really is Congress

         19      deciding to expand the scope of Section 3582 to some extent by

01:45:52PM20     eliminating the gatekeeper requirement that the Bureau of

         21      Prisons held.

         22                     One could view that as some liberalization of the

         23      relief afforded there --

         24                     MR. RODRIGUEZ: Judge --

01:46:06PM25                    THE COURT: -- to the extent judges have discretion,
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             1   you know, woefully absent from many years when the guidelines

             2   were mandatory.      Now we have much more than we used to have

             3   thanks to Justice Breyer and others.

             4                  But maybe it just boils down to that, that under

01:46:26PM   5   Section 3582 the Court has a lot of discretion:             It may

             6   consider quite a few factors in determining whether this

             7   particular man warrants the extraordinary relief that he

             8   seeks.

             9                  MR. RODRIGUEZ: Judge, as we argued last time we

01:46:45PM10     were in front of you, we don't -- we don't dispute that Your

         11      Honor has enhanced discretion under the First Step Act.              We

         12      don't.    I mean, the Congress intended to allow the courts more

         13      discretion.

         14                     Our argument here is that if you read the statute,

01:47:02PM15     Congress cannot be deemed to have intended for a judge to

         16      exercise that discretion so as to reduce sentences that were

         17      based on consecutive 924(c) sentences imposed prior to

         18      December '18.      A fair reading of the law does not support that

         19      interpretation.

01:47:19PM20                    And, Judge, even if you were to consider, and I

         21      know it's -- the law is relatively new, cases have evolved,

         22      but even if you were to consider the type of cases where this

         23      discretion has been used, the defendants in those cases are

         24      nothing like this defendant.

01:47:34PM25                    Even the case that Your Honor cited last week, I
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             1   forget the name of it, where the District Court indicated that

             2   it had the discretion, but decided not to exercise it.               Even

             3   if -- that case, as I recall, that defendant had no

             4   disciplinary record while in prison.

01:47:53PM   5                  To grant -- so our argument is both on a macro

             6   level and a micro level.        On a macro level we've argued here

             7   the law -- we believe that the law in this case warrants

             8   denial.    We respectfully submit the law does not allow the

             9   Court to grant early release in this case.

01:48:11PM10                    But if we look at who Mr. Marks is, I may be

         11      mistaken, but I did not find any cases where a defendant was

         12      allowed early release that in any way -- in any way resembled

         13      Mr. Marks' circumstances.

         14                     The three or four cases cited by the defendants in

01:48:30PM15     their first -- defendant in their first set of cases were

         16      completely different defendants, inmates:            They were old, they

         17      were elderly; one woman had breast cancer, one breast, and it

         18      seemed to be spreading in the other; another man had very

         19      serious illnesses.

01:48:47PM20                    THE COURT: That traditionally was the way Section

         21      3582 was viewed, I grant you that.          It was called

         22      "compassionate release" and , you know, it often was a vehicle

         23      for very sick inmates to get some relief in their dying last

         24      days.

01:49:04PM25                    I think Mr. Marks and his counsel would say, well,
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             1   the statute's been expanded somewhat now, Judge.              And you say

             2   well, it has, but still Mr. Marks was not the person -- the

             3   type of person, based on his record, et cetera, that should

             4   get the benefit of that.

01:49:23PM   5                  MR. RODRIGUEZ: That is correct.         And in this case

             6   we argue -- we believe that he is not.

             7                  THE COURT: In your comments at some point you

             8   might, you know, I've sentenced many, many people over the

             9   last 32 plus years, and they all have an aspect of the

01:49:41PM10     sentencing where there's supervised release.             Many conditions,

         11      some onerous.

         12                     One might say the concerns you have about Mr. Marks

         13      slipping back into drug activity or violence, I would ask you

         14      why couldn't that be dealt with like we do every other inmate

01:50:03PM15     with, in this case, a pretty extensive term of supervised

         16      release?     We do it with everybody:       Robbers, rapists, child

         17      porn people.      Why wouldn't it work here?

         18                     Let me say there's no guarantee where -- both of us

         19      have been in the business too long to know very little can you

01:50:23PM20     guarantee.     One might say, you know, you don't appreciate

         21      things until you lose them:         You don't appreciate your health

         22      until you lose it, you don't appreciate sometimes a spouse as

         23      much as you should until you lose him or her.             And Mr. Marks

         24      has suggested his freedom means too much to him to go down the

01:50:44PM25     road that he was there before.
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             1                  So that's a lengthy question, but I guess why not

             2   supervised release if you're really concerned that he might --

             3                  MR. RODRIGUEZ: Because supervised release does

             4   not -- I'm sorry, Judge.        I didn't mean to cut you off.

01:50:58PM   5                  THE COURT: Happens all the time.

             6                  MR. RODRIGUEZ: I apologize for doing it all the

             7   time.

             8                  First, because the law provided for a ten year

             9   mandatory on the drugs, a 30 year mandatory minimum on the two

01:51:11PM10     gun counts.     And under 3582(c) the Court cannot diminish that

         11      without -- without appropriate reasons, and none exist here.

         12                     THE COURT: The Government says you really don't get

         13      to supervised release? You can't -- that's really irrelevant,

         14      Judge, because you shouldn't be releasing him?

01:51:28PM15                    MR. RODRIGUEZ: Yes, that's our first argument,

         16      Judge.    And we believe it's a strong argument.

         17                     Now, but even if Your Honor were to consider, well,

         18      can't we protect against criminal activity by Chad Marks if we

         19      release him?      Your Honor, releasing him under supervised

01:51:44PM20     release in no way guarantees or no way even assures that he's

         21      not going to commit criminal activity.

         22                     He was incarcerated under the most secure

         23      circumstances around.        He wasn't just under supervision while

         24      he was out; he was incarcerated and he violated conditions:

01:52:05PM25     He beat up inmates.
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             1                  And I'm not talking about just in BOP.           I'm also

             2   talking about when he was at MCJ, Monroe County Jail; also

             3   while he was being held in Batavia.           I know that was a long

             4   time ago, Judge, but if you're trying to --

01:52:20PM   5                  THE COURT: That's what the defense would say, that

             6   it has been decades ago and --

             7                  MR. RODRIGUEZ: Judge, if you're trying to

             8   determine --

             9                  THE COURT: The Government is suggesting, you know,

01:52:29PM10     there's no ability for redemption.          Obviously, guarantee --

         11      it's like a bail consideration.          The way I can guarantee that

         12      someone's not going to flee or not going to engage in criminal

         13      activity is to lock everybody up.          And, you know, you can't do

         14      that.

01:52:46PM15                    There's always a risk.       And I guess one of the

         16      factors that eliminates risk is terms of supervision.

         17                     MR. RODRIGUEZ: But, Judge, I would argue two

         18      things.    One is again it is not our burden in this proceeding

         19      to show that Mr. Marks will not -- will be a danger.                 It is

01:53:07PM20     their burden to convince you that he will not be a danger,

         21      number one.

         22                     Number two, you have to look at his prior conduct.

         23      Your Honor has said in court many times when Your Honor has

         24      sentenced defendant s, when Your Honor has been back on

01:53:21PM25     supervised release violations where you tell them, yes, a lot
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             1   of people come in here and they promise me this will be the

             2   last time, and Your Honor knows better than I that oftentimes

             3   it is not.

             4                  You look at the defendant's prior behavior to gauge

01:53:38PM   5   what his future behavior will be.          And with respect to this

             6   defendant, unlike any other defendant that I've been able to

             7   find who has been released early under this changed law, that

             8   this defendant has engaged in criminal activity, has engaged

             9   in violent activity while incarcerated.            Not just pretrial,

01:54:00PM10     not just presentence, but post-sentence.

         11                     While in BOP he was, if I count correctly, he was

         12      charged five times.       I'm not talking about the stuff that

         13      happened recently in Lexington.          He was charged five times

         14      with disciplinary violations.         As I recall, one was for trying

01:54:20PM15     to bribe a guard.       I think that was the last one in 2013.

         16                     And then the other four related to violence.          He

         17      was fighting in one of them.         I think at least one of them

         18      involved an assault.

         19                     So this is not a defendant if Your Honor -- Your

01:54:33PM20     Honor always does this -- Your Honor is trying to look into

         21      the future, in some ways read your crystal ball and say what

         22      can I expect this man to do if I release him?             You have to

         23      consider what he's done in the past.           And what he's done in

         24      the past is violate.

01:54:50PM25                    Now, Judge, Your Honor -- and I'm gonna talk about
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             1   this street punk notion because I think it's an important one.

             2   I think the first time it was used, I think it was in Your

             3   Honor's letter to the Clemency Unit.           Mr. Gleeson picked it up

             4   in his papers, and Mr. Marks is running with it.

01:55:12PM   5                  What's that mean?      Mr. Marks when he was engaging

             6   in his criminal activity -- we need to go back and remember,

             7   he wasn't just some street urchin who was on the street doing

             8   the bare minimum to survive and stay alive.

             9                  You'll recall that this man had a roofing business,

01:55:33PM10     it's in the presentence report, he had a roofing business, a

         11      construction business, and he also had that pizza shop.

         12                     So the notion that Chad Marks had no options, that

         13      he was completely out in the world and really had nothing --

         14      no chance but to -- but to break the law is not him.

01:55:53PM15                    Now, if you say a street punk is simply somebody

         16      who was young and should have known better, he's a bright guy.

         17      Your Honor knows this as well as I do.           You have read his

         18      letters.     We've seen the letters to counsel.

         19                     Remember when we did the hearing where we were

01:56:12PM20     trying to determine whether he would take 20 years or not?

         21      Ms. Harrington provided us the letters.            He would submit legal

         22      arguments to Don Thompson.         He would argue with Don Thompson

         23      about what his guideline ranges should be.

         24                     So, again, Judge, I respectfully challenge the

01:56:30PM25     notion that he was a street punk if street punk means just
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             1   some violent little thug who didn't know any better.

             2                  This man knew better, and he knew better after he

             3   was sentenced when he engaged in violence in the prison.

             4                  THE COURT: I'm not sure my use of the term street

01:56:48PM   5   punk was -- I mean, he was engaged in many bad acts, he was a

             6   punk.    I mean, whether we, you know, get stuck on semantics, I

             7   accept your point.       He was --

             8                  MR. RODRIGUEZ: And he beat up people, Judge.          I

             9   mean, he beat up Dominic Malia.          He bragged about it.

01:57:12PM10                    THE COURT: I remember.

         11                     MR. RODRIGUEZ: And Dominic Malia had to go to the

         12      hospital twice as a result of what Chad Marks did to him.

         13                     In his papers, the things in his letters he -- I'm

         14      embarrassed, I'm embarrassed by some of the things I said.

01:57:25PM15                    Things he said?      How about the things he did?         It's

         16      not just those horrible letters that he wrote to his wife

         17      about what he was gonna do to those little girls and to his --

         18      excuse me for the language, but it's his -- to his -- to her

         19      nigger, Spic boyfriend when he got out.            It's not just the

01:57:46PM20     words he used.      It's his actions to follow those words.

         21                     Now, I'll end here , Judge, and I need to be a

         22      little careful because I in no way -- and I mean this -- I in

         23      no way want to suggest that you're in any way gullible or that

         24      you don't understand human nature.          I understand a lot better

01:58:06PM25     than I ever will.
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             1                  THE COURT: Go ahead and say whatever you want to

             2   say.

             3                  MR. RODRIGUEZ: But it's important to point out from

             4   the very earliest times that he was incarcerated this

01:58:16PM   5   defendant intended to play up religion because he knew you

             6   were a religious man.

             7                  It's in his correspondence.        He wrote it.       He told

             8   this inmate -- he wrote it in a letter to Don Thompson.                He

             9   wrote it in a letter to Don Thompson where he pointed out that

01:58:34PM10     he's gonna take religion classes in order to try to get a

         11      reduced sentence.

         12                     THE COURT: I'm not really all that religious.

         13                     MR. RODRIGUEZ: What's that?

         14                     THE COURT: I'm not really all that religious.

01:58:45PM15                    MR. RODRIGUEZ: Well, he thinks you are, which is

         16      obvious by his letters to the Court, which is obvious by the

         17      first statement he made when he came up here.             He started

         18      quoting Jesus Christ.        He starts his letters quoting the Lord

         19      and ends his letters quoting the Lord.           He clearly is trying

01:58:59PM20     to appeal to what he thinks Your Honor feels strongly about.

         21                     And the thing is, Judge, he has been doing this

         22      from the very outset of this case.          Ms. Chartier attached

         23      certificates of the classes that he took, it's part of the

         24      record, I've got them somewhere here, the classes that he took

01:59:24PM25     when he was incarcerated.        I think they're Exhibit G to maybe
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             1   the defendant's submissions.

             2                  I've got them here, the defendant's sentencing

             3   submissions.      And back then Chad Marks attached a certificate

             4   from Growing Kids God's Way January of 2004.

01:59:48PM   5                  A certificate from Clean Ministry Addictive

             6   Recovery Program, January 2004.

             7                  Certificate about anger management.

             8                  A certificate from Good News Jail and Prison

             9   Ministry, Bible correspondence course.

02:00:05PM10                    And I would have asked him all this, by the way, on

         11      cross-examination, but I didn't get a chance.

         12                     Another certificate from Good News Bible

         13      correspondence course, this one was for the Gospel of John           --

         14      first one was the Gospel of John - Unit I; the Gospel of John

02:00:19PM15     - Unit II; Gospel of John - Unit IV; Philippians; the Epistle

         16      of 1 John; Thessalonians; Romans - Unit I; Ephesians; and

         17      Gospel of John - Unit III.

         18                     What's interesting about this is that at the same

         19      time that he was taking these classes, Judge, at the same time

02:00:48PM20     he was taking these classes he was assaulting fellow inmates

         21      at BOP and at Batavia, and he was sending letters threatening

         22      to rape his wife, to torture little girls and to cut off the

         23      penis of his wife's boyfriend and shove it down the throat of

         24      his daughter.

02:01:06PM25                    So he can sit here and cite hundreds of hours of
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             1   classes that he's taken while in prison.            Mr. Wascher pointed

             2   out that that in no way suggests that a person is not

             3   dangerous or won't be.

             4                  But he's been playing this game from the very

02:01:27PM   5   outset and I respectfully submit that he is continuing to play

             6   it, and that if you release him none of -- none of these

             7   classes will in any way be determinative of how he will behave

             8   when he gets out.

             9                  The last point, and I'm gonna rest on the papers,

02:01:46PM10     Judge, that I submitted with my briefs both in my initial memo

         11      and in my reply memo, this is his motion, but when Your Honor

         12      decides it I would ask Your Honor to also think about some of

         13      the other remarks, which is the community in which he will be

         14      put and the people who he threatened to kill and to torture

02:02:11PM15     and rape.     He wrote these threats.       They are in his

         16      handwriting.

         17                     And those people are out there and they will be

         18      literally at his mercy when he comes out.            And no ankle

         19      bracelet, no home confinement, nothing short of keeping him in

02:02:34PM20     will ensure that they are not hurt while he gets out.

         21                     This man does not deserve early release, not under

         22      the law, nor does he deserve early release as a result of who

         23      he is.    He is a dangerous person who knows how to play the

         24      game and he should remain inside, incarcerated for the 40

02:02:56PM25     years that Your Honor correctly sentenced him to in 2011, I
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             1   believe.     Thank you, Judge.

             2                  MR. GLEESON: Judge, can I be heard briefly?

             3                  THE COURT: Just two minutes.

             4                  MR. GLEESON: Two minutes, okay.

02:03:10PM   5                  THE COURT: Maybe four.

             6                  MR. GLEESON: I'll do it.        If nothing short of

             7   keeping him in would protect those people, then Mr. Rodriguez

             8   wouldn't have offered a 20 year deal because all those threats

             9   existed back when that deal was offered.

02:03:24PM10                    Second, Judge, please don't regard the relief we're

         11      asking for as extraordinary.         It just seems that way because

         12      judges can be judges again.

         13                     And I don't want to quibble with the Court, 3582(c)

         14      wasn't expanded.      It was used as a vehicle for release for --

02:03:47PM15     for people of advanced age with infirmities only because those

         16      were the only circumstances in which BOP opened the door.            It

         17      has always been a safety valve.          It just was never used that

         18      way.

         19                     Of course, if a guarantee that people would not

02:04:05PM20     recidivate were a condition precedent for them leaving prison,

         21      no one would ever leave prison.

         22                     Second, the one thing I'll mention that hasn't been

         23      mentioned, you know, you can rely on social science about

         24      violent crimes and recidivation and how age -- people age out

02:04:21PM25     of violent crime.
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             1                  And if you look at the social science, and I'm

             2   happy to brief this if the Court finds it helpful, Chad Marks

             3   has aged out of violent crime.

             4                  This whole thing about the game, it's just -- it's

02:04:38PM   5   so much more cynicism -- and let me just use Mr. Rodriguez's

             6   argument myself.      In 2004 there was programming and at the

             7   same time he was taking -- he was engaging in violent conduct.

             8                  From 2013 forward, really the last bit of violence

             9   in his record is July of 2010.          From 2010 forward he's

02:05:06PM10     engaging in programming, but there's no violence, there's no

         11      hints of the sort that this -- that this argument suggests.

         12                     I'll suggest to you that take the same rubric that

         13      Mr. Rodriguez has placed before the Court and it shows that

         14      Mr. Chad Marks has, in fact, changed.

02:05:27PM15                    Last thing I'll do, I don't know how far into my

         16      four minutes I am, I'm going to suggest to the Court that the

         17      one thing that crystallizes the Government's approach to this

         18      case is what Mr. Rodriguez said when he stood up.              This is a

         19      criminal case.      This is a federal criminal case in a federal

02:05:48PM20     courtroom and you've been asked by the Government to hold Chad

         21      Marks' silence against him.

         22                     That is just jaw dropping.        It is so fundamentally

         23      wrong, so fundamentally revealing of how far -- how invested

         24      the Government has become in this case.

02:06:09PM25                    I urge the judge to exercise -- I urge the Court to
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             1   exercise the discretion that's been afforded you.               It's not

             2   extraordinary.      This is exactly the sort of safety valve

             3   Congress originally had in mind and has finally allowed direct

             4   access to the courts for you to invoke.            Thank you.

02:06:28PM   5                  THE COURT: Thank you.

             6                  MR. RODRIGUEZ: One last thing.

             7                  THE COURT: Everybody wants the last word.

             8                  MR. RODRIGUEZ: It will be ten seconds long.

             9                  THE COURT: What?

02:06:35PM10                    MR. RODRIGUEZ: Ten seconds long.

         11                     He was not silent.      He has never been silent.       He

         12      got up here and spoke.        What he did not do was swear and allow

         13      himself to be cross-examined.         So the notion that somehow

         14      we're questioning his right to remain silent, he didn't

02:06:50PM15     exercise that right.       He got up and spoke.

         16                     He sent Your Honor countless letters.           I wanted a

         17      chance to cross-examine him, and they chose not to do it under

         18      oath.

         19                     THE COURT: All right, thank you all.           As I think I

02:07:06PM20     indicated before, the Court's not prepared to rule today.

         21      There are many factual and legal issues the Court has to

         22      decide.    I will reserve.      This has been pending for some time.

         23      I know all have an interest in its prompt resolution, and I

         24      will tend to it promptly.

02:07:25PM25                    Two things.     Rules of evidence in these proceedings
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             1   don't appear to apply and I would think -- both sides had two

             2   exhibits.     They weren't formally moved, but I think they

             3   should all be just part of the record.

             4                  MR. RODRIGUEZ: I don't have a problem with that

02:07:48PM   5   Judge.    I think --

             6                  THE COURT: 1 and 2 and Exhibit A and B.

             7                  MR. GLEESON: Agreed.

             8                  MR. RODRIGUEZ: No objection.

             9                  THE COURT: All right. I think I have --

02:07:58PM10                    MR. GLEESON: Yeah.

         11                     THE COURT: Well, Exhibit A I have because that was

         12      part of the Government's filing.          Exhibit B I have a copy

         13      here.    And Exhibit 1.

         14                     MR. RODRIGUEZ: 1 and 2, Judge.         I've got -- I've

02:08:18PM15     got copies.     Can I hand them up?

         16                     THE COURT: Okay.      I don't think -- was Exhibit 1

         17      attached to your papers at any point?

         18                     MR. GLEESON: Is 1 the incident report?

         19                     MR. RODRIGUEZ: Yes.

02:08:30PM20                    MR. GLEESON: That was attached to our reply brief,

         21      Judge.

         22                     THE COURT: Exhibit 2, the affidavit of Wascher, was

         23      attached.

         24                     MR. RODRIGUEZ: It was attached to my papers.

02:08:38PM25                    THE COURT: So I guess I have those.
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             1                  MR. GLEESON: Judge, could you do whatever you can,

             2   please, to have him sent back to the --

             3                  THE COURT: That's the second thing I was going to

             4   talk about.     I don't see any reason for Mr. Marks to be in

02:08:53PM   5   Youngstown.     He could be removed to FMC Lexington or wherever

             6   the Bureau of Prisons believes he should be incarcerated.

             7                  MR. GLEESON: That's our request.

             8                  THE DEFENDANT: Thank you, Your Honor.

             9                  MR. GLEESON: Thank you.

02:09:08PM10                    THE COURT: All right, Mr. Marks, the Court will --

         11      I promise you that I will examine all the issues in this case

         12      carefully.     It's obviously most important to you, but it's

         13      important to counsel and the Court as well.

         14                     Thank you.     Have a nice holiday everyone.          Have

02:09:29PM15     safe travels.

         16                     MR. GLEESON: Thank you, Judge.

         17                     MS. HARRINGTON: Thank you, Your Honor.

         18                     (WHEREUPON, proceedings adjourned at 2:09 p.m.)

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 1                            CERTIFICATE OF REPORTER

 2

 3                  In accordance with 28, U.S.C., 753(b), I certify

 4   that these original notes are a true and correct record of

 5   proceedings in the United States District Court for the

 6   Western District of New York before the Honorable David G.

 7   Larimer on December 17th, 2019.

 8

 9   S/ Christi A. Macri

10   Christi A. Macri, FAPR-CRR
     Official Court Reporter
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